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   Manual of PATENT
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AVAILABILITY
The paperbound format of the Manual was discontinued by the Government Publishing Office effective December
13, 2012. The Manual is available electronically in html and PDF renderings on the USPTO website at
www.uspto.gov/web/offices/pac/mpep/. The Office also provides a search engine for searching the full text
of the Manual at http://mpep.uspto.gov/RDMS.
     
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in the source document includes the URL without the extra space; however, copying text that includes the extra
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EXPLANATION OF NOTATIONS
Revision Date Indicator. Each section within an MPEP Chapter includes a revision date indicator, e.g.,
[R-07.2015]. The numbers within the bracket indicate the date the revision cycle for that section was completed,
which would be July 2015 in the example above. Note that the publication date of the Manual as indicated on
the title page and on the bottom of the PDF renderings may be later than the date the revision cycle was completed
because of the time required for clearance processes.
     
"Pre-AIA." Where the phrase "pre-AIA" is associated with a law or rule, it means that version which was in
force before the date of the change necessitated by the Leahy-Smith America Invents Act (AIA), Public Law
112-29, 125 Stat. 284.
     
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rule, it means that version which was in force before the date of the change necessitated by the Patent Law
Treaties Implementation Act of 2012, Title II (Patent Law Treaty Implementation (PLT)), Public Law 112-211,
126 Stat. 1527 (Dec. 18, 2012). Note that the "pre-PLT (AIA)" designation is used when there is also a "pre-AIA"
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Five Asterisks. The use of five asterisks in the body of the laws, rules, treaties, and administrative instructions
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          First Edition, November 1949
          Second Edition, November 1953
          Third Edition, November 1961
          Fourth Edition, June 1979
          Fifth Edition, August 1983
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2143 Examples of Basic Requirements of a                   to why the invention as claimed would have been
Prima Facie Case of Obviousness [R-08.2017]                obvious to a person of ordinary skill in the art at the
                                                           time of the invention. This requirement for
 [Editor Note: This MPEP section is applicable to          explanation remains even in situations in which
applications subject to the first inventor to file         Office personnel may properly rely on intangible
(FITF) provisions of the AIA except that the relevant      realities such as common sense and ordinary
date is the "effective filing date" of the claimed         ingenuity.
invention instead of the "time of the invention" or
"time the invention was made," which are only              I. EXEMPLARY RATIONALES
applicable to applications subject to pre-AIA 35
U.S.C. 102. See 35 U.S.C. 100 (note) and MPEP §            Exemplary rationales that may support a conclusion
2150 et seq.]                                              of obviousness include:

The Supreme Court in KSR Int'l Co. v. Teleflex Inc.,          (A) Combining prior art elements according to
550 U.S. 398, 415-421, 82 USPQ2d 1385, 1395-97             known methods to yield predictable results;
(2007) identified a number of rationales to support            (B) Simple substitution of one known element
a conclusion of obviousness which are consistent           for another to obtain predictable results;
with the proper “functional approach” to the                  (C) Use of known technique to improve similar
determination of obviousness as laid down in               devices (methods, or products) in the same way;
 Graham. The key to supporting any rejection under
35 U.S.C. 103 is the clear articulation of the                 (D) Applying a known technique to a known
reason(s) why the claimed invention would have             device (method, or product) ready for improvement
been obvious. The Supreme Court in KSR noted               to yield predictable results;
that the analysis supporting a rejection under 35             (E) “Obvious to try” – choosing from a finite
U.S.C. 103 should be made explicit. In Ball Aerosol        number of identified, predictable solutions, with a
v. Ltd. Brands, 555 F.3d 984, 89 USPQ2d 1870 (Fed.         reasonable expectation of success;
Cir. 2009), the Federal Circuit offered additional
                                                               (F) Known work in one field of endeavor may
instruction as to the need for an explicit analysis.
                                                           prompt variations of it for use in either the same
The Federal Circuit explained that the Supreme
                                                           field or a different one based on design incentives
Court’s requirement for an explicit analysis does not
                                                           or other market forces if the variations are
require record evidence of an explicit teaching of a
                                                           predictable to one of ordinary skill in the art;
motivation to combine in the prior art.
                                                               (G) Some teaching, suggestion, or motivation
"[T]he analysis that "should be made explicit" refers      in the prior art that would have led one of ordinary
not to the teachings in the prior art of a motivation      skill to modify the prior art reference or to combine
to combine, but to the court’s analysis. . . . Under       prior art reference teachings to arrive at the claimed
the flexible inquiry set forth by the Supreme Court,       invention.
the district court therefore erred by failing to take      Note that the list of rationales provided is not
account of 'the inferences and creative steps,' or even    intended to be an all-inclusive list. Other rationales
routine steps, that an inventor would employ and by        to support a conclusion of obviousness may be relied
failing to find a motivation to combine related pieces     upon by Office personnel. Any rationale employed
from the prior art." Ball Aerosol, 555 F.3d at 993,        must provide a link between the factual findings and
89 USPQ2d at 1877.                                         the legal conclusion of obviousness.

The Federal Circuit’s directive in Ball Aerosol was        It is important for Office personnel to recognize that
addressed to a lower court, but it applies to Office       when they do choose to formulate an obviousness
personnel as well. When setting forth a rejection,         rejection using one of the rationales suggested by
Office personnel are to continue to make appropriate       the Supreme Court in KSR and discussed herein,
findings of fact as explained in MPEP § 2141 and §         they are to adhere to the guidance provided regarding
2143, and must provide a reasoned explanation as


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the necessary factual findings. It remains Office               (4) whatever additional findings based on the
policy that appropriate factual findings are required       Graham factual inquiries may be necessary, in view
in order to apply the enumerated rationales properly.       of the facts of the case under consideration, to
                                                            explain a conclusion of obviousness.
The subsections below include discussions of each           The rationale to support a conclusion that the claim
rationale along with examples illustrating how the          would have been obvious is that all the claimed
cited rationales may be used to support a finding of        elements were known in the prior art and one skilled
obviousness. Some examples use the facts of                 in the art could have combined the elements as
pre- KSR cases to show how the rationales suggested         claimed by known methods with no change in their
by the Court in KSR may be used to support a                respective functions, and the combination yielded
finding of obviousness. The cases cited (from which         nothing more than predictable results to one of
the facts were derived) may not necessarily stand           ordinary skill in the art. KSR, 550 U.S. at 416, 82
for the proposition that the particular rationale is the    USPQ2d at 1395; Sakraida v. AG Pro, Inc., 425
basis for the court’s holding of obviousness, but they      U.S. 273, 282, 189 USPQ 449, 453 (1976);
do illustrate consistency of past decisions with the         Anderson’s-Black Rock, Inc. v. Pavement Salvage
lines of reasoning laid out in KSR. Other examples          Co., 396 U.S. 57, 62-63, 163 USPQ 673, 675 (1969);
are post- KSR decisions that show how the Federal            Great Atl. & P. Tea Co. v. Supermarket Equip.
Circuit has applied the principles of KSR. Cases are        Corp., 340 U.S. 147, 152, 87 USPQ 303, 306 (1950).
included that illustrate findings of obviousness as         “[I]t can be important to identify a reason that would
well as nonobviousness. Note that, in some instances,       have prompted a person of ordinary skill in the
a single case is used in different subsections to           relevant field to combine the elements in the way
illustrate the use of more than one rationale to            the claimed new invention does.” KSR, 550 U.S. at
support a finding of obviousness. It will often be the      418, 82 USPQ2d at 1396. If any of these findings
case that, once the Graham inquiries have been              cannot be made, then this rationale cannot be used
satisfactorily resolved, a conclusion of obviousness        to support a conclusion that the claim would have
may be supported by more than one line of                   been obvious to one of ordinary skill in the art.
reasoning.
                                                            Example 1:
A. Combining Prior Art Elements According to Known          The claimed invention in Anderson’s-Black Rock, Inc. v.
Methods To Yield Predictable Results                        Pavement Salvage Co., 396 U.S. 57, 163 USPQ 673 (1969) was
                                                            a paving machine which combined several well-known elements
To reject a claim based on this rationale, Office           onto a single chassis. Standard prior art paving machines
                                                            typically combined equipment for spreading and shaping asphalt
personnel must resolve the Graham factual
                                                            onto a single chassis. The patent claim included the well-known
inquiries. Then, Office personnel must articulate the       element of a radiant-heat burner attached to the side of the paver
following:                                                  for the purpose of preventing cold joints during continuous strip
                                                            paving. The prior art used radiant heat for softening the asphalt
    (1) a finding that the prior art included each          to make patches, but did not use radiant heat burners to achieve
                                                            continuous strip paving. All of the component parts were known
element claimed, although not necessarily in a single
                                                            in the prior art. The only difference was the combination of the
prior art reference, with the only difference between       “old elements” into a single device by mounting them on a single
the claimed invention and the prior art being the lack      chassis. The Court found that the operation of the heater was in
of actual combination of the elements in a single           no way dependent on the operation of the other equipment, and
prior art reference;                                        that a separate heater could also be used in conjunction with a
                                                            standard paving machine to achieve the same results. The Court
   (2) a finding that one of ordinary skill in the art      concluded that “[t]he convenience of putting the burner together
could have combined the elements as claimed by              with the other elements in one machine, though perhaps a matter
                                                            of great convenience, did not produce a ‘new’ or ‘different
known methods, and that in combination, each
                                                            function’” and that to those skilled in the art the use of the old
element merely performs the same function as it             elements in combination would have been obvious. Id. at 60,
does separately;                                            163 USPQ at 674.
   (3) a finding that one of ordinary skill in the art
                                                            Note that combining known prior art elements is not sufficient
would have recognized that the results of the
                                                            to render the claimed invention obvious if the results would not
combination were predictable; and


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have been predictable to one of ordinary skill in the art. United     The district court found that Astra’s patent in suit was infringed
States v. Adams, 383 U.S. 39, 51-52, 148 USPQ 479, 483-84             by defendants Apotex and Impax. The district court rejected
(1966). In Adams, the claimed invention was to a battery with         Apotex’s defense that the patents were invalid for obviousness.
one magnesium electrode and one cuprous chloride electrode            Apotex had argued that the claimed invention was obvious
that could be stored dry and activated by the addition of plain       because coated omeprazole tablets were known from a prior art
water or salt water. Although magnesium and cuprous chloride          reference, and because secondary subcoatings in pharmaceutical
were individually known battery components, the Court                 preparations generally were also known. There was no evidence
concluded that the claimed battery was nonobvious. The Court          of unpredictability associated with applying two different enteric
stated that “[d]espite the fact that each of the elements of the      coatings to omeprazole. However, Astra’s reason for applying
Adams battery was well known in the prior art, to combine them        an intervening subcoating between the prior art coating and
as did Adams required that a person reasonably skilled in the         omeprazole had been that the prior art coating was actually
prior art must ignore” the teaching away of the prior art that        interacting with omeprazole, thereby contributing to undesirable
such batteries were impractical and that water-activated batteries    degradation of the active ingredient. This degradation of
were successful only when combined with electrolytes                  omeprazole by interaction with the prior art coating had not
detrimental to the use of magnesium electrodes. Id. at 42-43,         been recognized in the prior art. Therefore, the district court
50-52, 148 USPQ at 480, 483. “[w]hen the prior art teaches            reasoned that based on the evidence available, a person of
away from combining certain known elements, discovery of              ordinary skill in the art would have had no reason to include a
successful means of combining them is more likely to be               subcoating in an omeprazole pill formulation.
nonobvious.” KSR, 550 U.S. at 416, 82 USPQ2d at 1395.
                                                                      The Federal Circuit affirmed the district court’s decision that
Example 2:
                                                                      the claimed invention was not obvious. Even though subcoatings
The claimed invention in Ruiz v. A.B. Chance Co., 357 F.3d            for enteric drug formulation were known, and there was no
1270, 69 USPQ2d 1686 (Fed. Cir. 2004) was directed to a               evidence of undue technical hurdles or lack of a reasonable
system which employs a screw anchor for underpinning existing         expectation of success, the formulation was nevertheless not
foundations and a metal bracket to transfer the building load         obvious because the flaws in the prior art formulation that had
onto the screw anchor. The prior art (Fuller) used screw anchors      prompted the modification had not been recognized. Thus there
for underpinning existing structural foundations. Fuller used a       would have been no reason to modify the initial formulation,
concrete haunch to transfer the load of the foundation to the         even though the modification could have been done. Moreover,
screw anchor. The prior art (Gregory) used a push pier for            a person of skill in the art likely would have chosen a different
underpinning existing structural foundations. Gregory taught a        modification even if they had recognized the problem.
method of transferring load using a bracket, specifically: a metal
bracket transfers the foundation load to the push pier. The pier      Office personnel should note that in this case the modification
is driven into the ground to support the load. Neither reference      of the prior art that had been presented as an argument for
showed the two elements of the claimed invention – screw              obviousness was an extra process step that added an additional
anchor and metal bracket – used together. The court found that        component to a known, successfully marketed formulation. The
“artisans knew that a foundation underpinning system requires         proposed modification thus amounted to extra work and greater
a means of connecting the foundation to the load-bearing              expense for no apparent reason. This is not the same as
member.” Id. at 1276, 69 USPQ2d at 1691.                              combining known prior art elements A and B when each would
                                                                      have been expected to contribute its own known properties to
The nature of the problem to be solved – underpinning unstable        the final product. In the Omeprazole case, in view of the
foundations – as well as the need to connect the member to the        expectations of those of ordinary skill in the art, adding the
foundation to accomplish this goal, would have led one of             subcoating would not have been expected to confer any
ordinary skill in the art to choose an appropriate load bearing       particular desirable property on the final product. Rather, the
member and a compatible attachment. Therefore, it would have          final product obtained according to the proposed modifications
been obvious to use a metal bracket (as shown in Gregory) in          would merely have been expected to have the same functional
combination with the screw anchor (as shown in Fuller) to             properties as the prior art product.
underpin unstable foundations.
                                                                      The Omeprazole case can also be analyzed in view of the
Example 3:                                                            discovery of a previously unknown problem by the patentee. If
                                                                      the adverse interaction between active agent and coating had
The case of In re Omeprazole Patent Litigation, 536 F.3d 1361,        been known, it might well have been obvious to use a
87 USPQ2d 1865 (Fed. Cir. 2008), is one in which the claims           subcoating. However, since the problem had not been previously
in question were found to be nonobvious in the context of an          known, there would have been no reason to incur additional
argument to combine prior art elements. The invention involved        time and expense to add another layer, even though the addition
applying enteric coatings to a drug in pill form for the purpose      would have been technologically possible. This is true because
of ensuring that the drug did not disintegrate before reaching        the prior art of record failed to mention any stability problem,
its intended site of action. The drug at issue was omeprazole,        despite the acknowledgment during testimony at trial that there
the generic name for gastric acid inhibitor marketed as               was a known theoretical reason that omeprazole might be subject
Prilosec®. The claimed formulation included two layers of             to degradation in the presence of the known coating material.
coatings over the active ingredient.




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Example 4:
                                                                       Circuit pointed out that this combination “yielded more than
The case of Crocs, Inc. v. U.S. Int'l Trade Comm'n, 598 F.3d           predictable results.” Id. at 1310, 93 USPQ2d at 1788. Aguerre
1294, 93 USPQ 1777 (Fed. Cir. 2010), is a decision in which            had taught that friction between the base section and the strap
the claimed foam footwear was held by the Federal Circuit to           was a problem rather than an advantage, and had suggested the
be nonobvious over a combination of prior art references.              use of nylon washers to reduce friction. Thus the Federal Circuit
                                                                       stated that even if all elements of the claimed invention had
                                                                       been taught by the prior art, the claims would not have been
The claims involved in the obviousness issue were from Crocs’          obvious because the combination yielded more than predictable
U.S. Patent No. 6,993,858, and were drawn to footwear in which         results.
a one-piece molded foam base section formed the top of the
shoe (the upper) and the sole. A strap also made of foam was
attached to the foot opening of the upper, such that the strap         The Federal Circuit’s discussion in Crocs serves as a reminder
could provide support to the Achilles portion of the wearer’s          to Office personnel that merely pointing to the presence of all
foot. The strap was attached via connectors that allowed it to         claim elements in the prior art is not a complete statement of a
be in contact with the base section, and to pivot relative to the      rejection for obviousness. In accordance with MPEP § 2143,
base section. Because both the base portion and the strap were         subsection I.A.(3), a proper rejection based on the rationale that
made of foam, friction between the strap and the base section          the claimed invention is a combination of prior art elements also
allowed the strap to maintain its position after pivoting. In other    includes a finding that results flowing from the combination
words, the foam strap did not fall under the force of gravity to       would have been predictable to a person of ordinary skill in the
a position adjacent to the heel of the base section.                   art. MPEP § 2143, subsection I.A.(3). If results would not have
                                                                       been predictable, Office personnel should not enter an
                                                                       obviousness rejection using the combination of prior art elements
The International Trade Commission (ITC) determined that the           rationale, and should withdraw such a rejection if it has been
claims were obvious over the combination of two pieces of prior        made.
art. The first was the Aqua Clog, which was a shoe that
corresponded to the base section of the footwear of the ‘858           Example 5:
patent. The second was the Aguerre patent, which taught heel
straps made of elastic or another flexible material. In the ITC’s       Sundance, Inc. v. DeMonte Fabricating Ltd., 550 F.3d 1356,
view, the claimed invention was obvious because the prior art          89 USPQ2d 1535 (Fed. Cir. 2008), involved a segmented and
Aqua Clog differed from the claimed invention only as to the           mechanized cover for trucks, swimming pools, or other
presence of the strap, and a suitable strap was taught by Aguerre.     structures. The claim was found to be obvious over the prior art
                                                                       applied.
The Federal Circuit disagreed. The Federal Circuit stated that
the prior art did not teach foam heel straps, or that a foam heel      A first prior art reference taught that a reason for making a
strap should be placed in contact with a foam base. The Federal        segmented cover was ease of repair, in that a single damaged
Circuit pointed out that the prior art actually counseled against      segment could be readily removed and replaced when necessary.
using foam as a material for the heel strap of a shoe.                 A second prior art reference taught the advantages of a
                                                                       mechanized cover for ease of opening. The Federal Circuit noted
                                                                       that the segmentation aspect of the first reference and the
  The record shows that the prior art would actually                   mechanization function of the second perform in the same way
  discourage and teach away from the use of foam straps.               after combination as they had before. The Federal Circuit further
  An ordinary artisan in this field would not add a foam               observed that a person of ordinary skill in the art would have
  strap to the foam Aqua Clog because foam was likely to               expected that adding replaceable segments as taught by the first
  stretch and deform, in addition to causing discomfort for            reference to the mechanized cover of the other would result in
  a wearer. The prior art depicts foam as unsuitable for               a cover that maintained the advantageous properties of both of
  straps.                                                              the prior art covers.

Id. at 1309, 93 USPQ2d at 1787-88.                                     Thus, the Sundance case points out that a hallmark of a proper
                                                                       obviousness rejection based on combining known prior art
The Federal Circuit continued, stating that even if – contrary to      elements is that one of ordinary skill in the art would reasonably
fact – the claimed invention had been a combination of elements        have expected the elements to maintain their respective
that were known in the prior art, the claims still would have          properties or functions after they have been combined.
been nonobvious. There was testimony in the record that the
loose fit of the heel strap made the shoe more comfortable for         Example 6:
the wearer than prior art shoes in which the heel strap was
                                                                       In the case of Ecolab, Inc. v. FMC Corp., 569 F.3d 1335, 91
constantly in contact with the wearer’s foot. In the claimed
                                                                       USPQ2d 1225 (Fed Cir. 2009), an “apparent reason to combine”
footwear, the foam heel strap contacted the wearer’s foot only
                                                                       in conjunction with the technical ability to optimize led to the
when needed to help reposition the foot properly in the shoe,
                                                                       conclusion that the claimed invention would have been obvious.
thus reducing wearer discomfort that could arise from constant
contact. This desirable feature was a result of the friction
between the base section and the strap that kept the strap in place    The invention in question was a method of treating meat to
behind the Achilles portion of the wearer’s foot. The Federal          reduce the incidence of pathogens, by spraying the meat with



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an antibacterial solution under specified conditions. The parties      admitted that each of several prior art references taught every
did not dispute that a single prior art reference had taught all of    element of the claimed inventions except for the removable
the elements of the claimed invention, except for the pressure         sleeve and the external covering. Master Lock had argued that
limitation of “at least 50 psi.”                                       these references, in combination with additional references
                                                                       teaching the missing elements, would have rendered the claims
FMC had argued at the district court that the claimed invention        obvious. The court first addressed the question of whether the
would have been obvious in view of the first prior art reference       additional references relied on by Master Lock were analogous
mentioned above in view of a second reference that had taught          prior art. As to the reference teaching the sleeve improvement,
the advantages of spray-treating at pressures of 20 to 150 psi         the court concluded that it dealt specifically with using a vehicle
when treating meat with a different antibacterial agent. The           to tow a trailer, and was therefore in the same field of endeavor
district court did not find FMC’s argument to be convincing,           as Wyers’ sleeve improvement. The reference teaching the
and denied the motion for judgment as a matter of law that the         sealing improvement dealt with a padlock rather than a lock for
claim was obvious.                                                     a tow hitch. The court noted that Wyers’ specification had
                                                                       characterized the claimed invention as being in the field of
                                                                       locking devices, thus at least suggesting that the sealed padlock
Disagreeing with the district court, the Federal Circuit stated        reference was in the same field of endeavor. However, the court
that “there was an apparent reason to combine these known              also observed that even if sealed padlocks were not in the same
elements – namely to increase contact between the [antibacterial       field of endeavor, they were nevertheless reasonably pertinent
solution] and the bacteria on the meat surface and to use the          to the problem of avoiding contamination of a locking
pressure to wash additional bacteria off the meat surface.” Id.        mechanism for tow hitches. The court explained that the
at 1350, 91 USPQ2d at 1234. The Federal Circuit explained that         Supreme Court’s decision in KSR “directs [it] to construe the
because the second reference had taught “using high pressure           scope of analogous art broadly.” Id. at 1238, 95 USPQ2d at
to improve the effectiveness of an antimicrobial solution when         1530. For these reasons, the court found that Master Lock’s
sprayed onto meat, and because an ordinarily skilled artisan           asserted references were analogous prior art, and therefore
would have recognized the reasons for applying [the claimed            relevant to the obviousness inquiry.
antibacterial solution] using high pressure and would have
known how to do so, Ecolab’s claims combining high pressure
with other limitations disclosed in FMC’s patent are invalid as        The court then turned to the question of whether there would
obvious.” Id.                                                          have been adequate motivation to combine the prior art elements
                                                                       as had been urged by Master Lock. The court recalled the
                                                                        Graham inquiries, and also emphasized the “expansive and
When considering the question of obviousness, Office personnel         flexible” post-KSR approach to obviousness that must not “deny
should keep in mind the capabilities of a person of ordinary           factfinders recourse to common sense.” Id. at 1238, 95 USPQ2d
skill. In Ecolab, the Federal Circuit stated:                          at 1530-31. (quoting KSR, 550 U.S. at 415, 421, 82 USPQ2d
                                                                       at 1395, 1397). The court stated:
  Ecolab’s expert admitted that one skilled in the art would
  know how to adjust application parameters to determine                      KSR and our later cases establish that the legal
  the optimum parameters for a particular solution. The                     determination of obviousness may include recourse to
  question then is whether it would have been obvious to                    logic, judgment, and common sense, in lieu of expert
  combine the high pressure parameter disclosed in the                      testimony. . . . Thus, in appropriate cases, the ultimate
  Bender patent with the PAA methods disclosed in FMC’s                     inference as to the existence of a motivation to combine
  ’676 patent. The answer is yes. Id.                                       references may boil down to a question of “common
                                                                            sense,” appropriate for resolution on summary judgment
If optimization of the application parameters had not been within           or JMOL.
the level of ordinary skill in the art, the outcome of the Ecolab
case may well have been different.                                      Id. at 1240, 82 USPQ2d at 1531 (citing Perfect Web Techs.,
                                                                       Inc. v. InfoUSA, Inc., 587 F.3d 1324, 1330, 92 USPQ2d, 1849,
Example 7:
                                                                       1854 (Fed. Cir. 2009); Ball Aerosol, 555 F.3d at 993, 89
In the case of Wyers v. Master Lock Co., 616 F.3d 1231, 95             USPQ2d 1870, 1875 (Fed. Cir. 2009)).
USPQ2d 1525 (Fed. Cir. 2010), the Federal Circuit held that
the claimed barbell-shaped hitch pin locks used to secure trailers     After reviewing these principles, the court proceeded to explain
to vehicles were obvious.                                              why adequate motivation to combine had been established in
                                                                       this case. With regard to the sleeve improvement, it pointed out
The court discussed two different sets of claims in Wyers, both        that the need for different sizes of hitch pins was well known
drawn to improvements over the prior art hitch pin locks. The          in the art, and that this was a known source of inconvenience
first improvement was a removable sleeve that could be placed          and expense for users. The court also mentioned the marketplace
over the shank of the hitch pin lock so that the same lock could       aspect of the issue, noting that space on store shelves was at a
be used with towing apertures of varying sizes. The second             premium, and that removable sleeves addressed this economic
improvement was an external flat flange seal adapted to protect        concern. As to the sealing improvement, the court pointed out
the internal lock mechanism from contaminants. Wyers had               that both internal and external seals were well-known means to
                                                                       protect locks from contaminants. The court concluded that the


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constituent elements were being employed in accordance with           prevent[s] direct transfer of load from the rod to the bone-screw
their recognized functions, and would have predictably retained       interface.” Thus, the alleged reason to combine the prior art
their respective functions when combined as suggested by              elements of Puno and Anderson—increasing the rigidity of the
Master Lock. The court cited In re O’Farrell, 853 F.2d 894,           screw—ran contrary to the prior art that taught that increasing
904 (Fed. Cir. 1988) for the proposition that a reasonable            rigidity would result in a greater likelihood of failure. In view
expectation of success is a requirement for a proper                  of this teaching and the backdrop of collective teachings of the
determination of obviousness.                                         prior art, the Federal Circuit determined that Puno teaches away
                                                                      from the proposed combination such that a person of ordinary
Office personnel should note that although the Federal Circuit        skill would have been deterred from combining the references
invoked the idea of common sense in support of a conclusion           as proposed. Secondary considerations evaluated by the Federal
of obviousness, it did not end its explanation there. Rather, the     Circuit relating to failure by others and copying also supported
court explained why a person of ordinary skill in the art at the      the view that the combination would not have been obvious at
time of the invention, in view of the facts relevant to the case,     the time of the invention.
would have found the claimed inventions to have been obvious.
The key to supporting any rejection under 35 U.S.C. 103 is the        B. Simple Substitution of One Known Element for
clear articulation of the reason(s) why the claimed invention         Another To Obtain Predictable Results
would have been obvious. The Supreme Court in KSR noted
that the analysis supporting a rejection under 35 U.S.C. 103
should be made explicit. The Court quoting In re Kahn, 441            To reject a claim based on this rationale, Office
F.3d 977, 988, 78 USPQ2d 1329, 1336 (Fed. Cir. 2006), stated          personnel must resolve the Graham factual
that “[R]ejections on obviousness cannot be sustained by mere         inquiries. Then, Office personnel must articulate the
conclusory statements; instead, there must be some articulated        following:
reasoning with some rational underpinning to support the legal
conclusion of obviousness.” See MPEP § 2141, subsection III.
Office personnel should continue to provide a reasoned                    (1) a finding that the prior art contained a device
explanation for every obviousness rejection.                          (method, product, etc.) which differed from the
                                                                      claimed device by the substitution of some
Example 8:
                                                                      components (step, element, etc.) with other
The claim in DePuy Spine, Inc. v. Medtronic Sofamor Danek,            components;
Inc., 567 F.3d 1314, 90 USPQ2d 1865 (Fed. Cir. 2009), was
directed to a polyaxial pedicle screw used in spinal surgeries           (2) a finding that the substituted components
that included a compression member for pressing a screw head          and their functions were known in the art;
against a receiver member. A prior art reference (Puno) disclosed
all of the elements of the claim except for the compression
                                                                         (3) a finding that one of ordinary skill in the art
member. Instead, the screw head in Puno was separated from            could have substituted one known element for
the receiver member to achieve a shock absorber effect, allowing      another, and the results of the substitution would
some motion between receiver member and the vertebrae. The            have been predictable; and
missing compression member was readily found in another prior
art reference (Anderson), which disclosed an external fracture            (4) whatever additional findings based on the
immobilization splint for immobilizing long bones with a swivel       Graham factual inquiries may be necessary, in view
clamp capable of polyaxial movement until rigidly secured by          of the facts of the case under consideration, to
a compression member. It was asserted during trial that a person
of ordinary skill would have recognized that the addition of
                                                                      explain a conclusion of obviousness.
Anderson’s compression member to Puno’s device would have             The rationale to support a conclusion that the claim
achieved a rigidly locked polyaxial pedicle screw covered by
the claim.                                                            would have been obvious is that the substitution of
                                                                      one known element for another yields predictable
In conducting its analysis, the Federal Circuit noted that the        results to one of ordinary skill in the art. If any of
“predictable result” discussed in KSR refers not only to the          these findings cannot be made, then this rationale
expectation that prior art elements are capable of being              cannot be used to support a conclusion that the claim
physically combined, but also that the combination would have         would have been obvious to one of ordinary skill in
worked for its intended purpose. In this case, it was successfully
argued that Puno “teaches away” from a rigid screw because            the art.
Puno warned that rigidity increases the likelihood that the screw
                                                                      Example 1:
will fail within the human body, rendering the device inoperative
for its intended purpose. In fact, the reference did not merely       The claimed invention in In re Fout, 675 F.2d 297, 213 USPQ
express a general preference for pedicle screws having a “shock       532 (CCPA 1982) was directed to a method for decaffeinating
absorber” effect, but rather expressed concern for failure and        coffee or tea. The prior art (Pagliaro) method produced a
stated that the shock absorber feature “decrease[s] the chance        decaffeinated vegetable material and trapped the caffeine in a
of failure of the screw of the bone-screw interface” because “it      fatty material (such as oil). The caffeine was then removed from



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                                                                       Example 4:
the fatty material by an aqueous extraction process. Applicant
(Fout) substituted an evaporative distillation step for the aqueous    The claimed invention in Ex parte Smith, 83 USPQ2d 1509
extraction step. The prior art (Waterman) suspended coffee in          (Bd. Pat. App. & Int. 2007), was a pocket insert for a bound
oil and then directly distilled the caffeine through the oil. The      book made by gluing a base sheet and a pocket sheet of paper
court found that “[b]ecause both Pagliaro and Waterman teach           together to form a continuous two-ply seam defining a closed
a method for separating caffeine from oil, it would have been          pocket. The prior art (Wyant) disclosed at least one pocket
 prima facie obvious to substitute one method for the other.           formed by folding a single sheet and securing the folder portions
Express suggestion to substitute one equivalent for another need       along the inside margins using any convenient bonding method.
not be present to render such substitution obvious.” Id. at 301,       The prior art (Wyant) did not disclose bonding the sheets to
213 USPQ at 536.                                                       form a continuous two-ply seam. The prior art (Dick) disclosed
                                                                       a pocket that is made by stitching or otherwise securing two
Example 2:
                                                                       sheets along three of its four edges to define a closed pocket
The claimed invention in In re O’Farrell, 853 F.2d 894,                with an opening along its fourth edge.
7 USPQ2d 1673 (Fed. Cir. 1988) was directed to a method for
synthesizing a protein in a transformed bacterial host species         In considering the teachings of Wyant and Dick, the Board
by substituting a heterologous gene for a gene native to the host      “found that (1) each of the claimed elements is found within the
species. Generally speaking, protein synthesis in vivo follows         scope and content of the prior art; (2) one of ordinary skill in
a path from DNA to mRNA. Although the prior art Polisky                the art could have combined the elements as claimed by methods
article (authored by two of the three inventors of the application)    known at the time the invention was made; and (3) one of
had explicitly suggested employing the method described for            ordinary skill in the art would have recognized at the time the
protein synthesis, the inserted heterologous gene exemplified          invention was made that the capabilities or functions of the
in the article was one that normally did not proceed all the way       combination were predictable.” Citing KSR, the Board
to the protein production step, but instead terminated with the        concluded that “[t]he substitution of the continuous, two-ply
mRNA. A second reference to Bahl had described a general               seam of Dick for the folded seam of Wyant thus is no more than
method of inserting chemically synthesized DNA into a plasmid.         the simple substitution of one known element for another or the
Thus, it would have been obvious to one of ordinary skill in the       mere application of a known technique to a piece of prior art
art to replace the prior art gene with another gene known to lead      ready for improvement.
to protein production, because one of ordinary skill in the art
would have been able to carry out such a substitution, and the         Example 5:
results were reasonably predictable.
                                                                       The claimed invention in In re ICON Health & Fitness, Inc.,
                                                                       496 F.3d 1374, 83 USPQ2d 1746 (Fed. Cir. 2007), was directed
In response to applicant’s argument that there had been                to a treadmill with a folding tread base that swivels into an
significant unpredictability in the field of molecular biology at      upright storage position, including a gas spring connected
the time of the invention, the court stated that the level of skill    between the tread base and the upright structure to assist in
was quite high and that the teachings of Polisky, even taken           stably retaining the tread base in the storage position. On
alone, contained detailed enabling methodology and included            reexamination, the examiner rejected the claims as obvious
the suggestion that the modification would be successful for           based on a combination of references including an advertisement
synthesis of proteins.                                                 (Damark) for a folding treadmill demonstrating all of the claim
                                                                       elements other than the gas spring, and a patent (Teague) with
This is not a situation where the rejection is a statement that it     a gas spring. Teague was directed to a bed that folds into a
would have been “obvious to try” without more. Here there was          cabinet using a novel dual-action spring that reverses force as
a reasonable expectation of success. “Obviousness does not             the mechanism passes a neutral position, rather than a
require absolute predictability of success.” Id. at 903, 7 USPQ2d      single-action spring that would provide a force pushing the bed
at 1681.                                                               closed at all times. The dual-action spring reduced the force
                                                                       required to open the bed from the closed position, while reducing
Example 3:                                                             the force required to lift the bed from the open position.

The fact pattern in Ruiz v. AB Chance Co., 357 F.3d 1270, 69
USPQ2d 1686 (Fed. Cir. 2004) is set forth above in Example 2           The Federal Circuit addressed the propriety of making the
in subsection I.A., above.                                             combination since Teague was in a different field than the
                                                                       application. Teague was found to be reasonably pertinent to the
                                                                       problem addressed in the application because the folding
The prior art showed differing load-bearing members and                mechanism did not require any particular focus on treadmills,
differing means of attaching the foundation to the member.             but rather generally addressed problems of supporting the weight
Therefore, it would have been obvious to one of ordinary skill         of such a mechanism and providing a stable resting position.
in the art to substitute the metal bracket taught in Gregory for
Fuller’s concrete haunch for the predictable result of transferring
the load.                                                              The court also considered whether one skilled in the art would
                                                                       have been led to combine the teachings of Damark and Teague.
                                                                       Appellant argued that Teague teaches away from the invention
                                                                       because it directs one skilled in the art not to use single-action



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springs and does not satisfy the claim limitations as the             used a mechanical pressure switch. A resistive electrical switch
dual-action springs would render the invention inoperable. The        was taught in two prior art patents, in the contexts of a hand-held
Federal Circuit considered these arguments and found that, while      pest control device and a cattle prod.
Teague at most teaches away from using single-action springs
to decrease the opening force, it actually instructed that            In determining that the claimed invention was obvious, the
single-action springs provide the result desired by the inventors,    Federal Circuit noted that “[t]he asserted claims simply substitute
which was to increase the opening force provided by gravity.          a resistive electrical switch for the mechanical pressure switch”
As to inoperability, the claims were not limited to single-action     employed in the prior art device. Id. at 1344, 86 USPQ2d at
springs and were so broad as to encompass anything that assists       1115. In this case, the prior art concerning the hand-held devices
in stably retaining the tread base, which is the function that        revealed that the function of the substituted resistive electrical
Teague accomplished. Additionally, the fact that the                  switch was well known and predictable, and that it could be
counterweight mechanism from Teague used a large spring,              used in a pest control device. According to the Federal Circuit,
which appellant argued would overpower the treadmill                  the references that taught the hand-held devices showed that
mechanism, ignores the modifications that one skilled in the art      “the use of an animal body as a resistive switch to complete a
would make to a device borrowed from the prior art. One skilled       circuit for the generation of an electric charge was already well
in the art would size the components from Teague appropriately        known in the prior art.” Id. Finally, the Federal Circuit noted
for the application.                                                  that the problem solved by using the resistive electrical switch
                                                                      in the prior art hand-held devices – malfunction of mechanical
  ICON is another useful example for understanding the scope          switches due to dirt and dampness – also pertained to the prior
of analogous art. The art applied concerned retaining                 art stationary pest control device.
mechanisms for folding beds, not treadmills. When determining
whether a reference may properly be applied to an invention in        The Federal Circuit recognized Agrizap as “a textbook case of
a different field of endeavor, it is necessary to consider the        when the asserted claims involve a combination of familiar
problem to be solved. It is certainly possible that a reference       elements according to known methods that does no more than
may be drawn in such a way that its usefulness as a teaching is       yield predictable results.” Id. Agrizap exemplifies a strong case
narrowly restricted. However, in ICON, the problem to be              of obviousness based on simple substitution that was not
solved was not limited to the teaching of the “treadmill” concept.    overcome by the objective evidence of nonobviousness offered.
The Teague reference was analogous art because “Teague and            It also demonstrates that analogous art is not limited to the field
the current application both address the need to stably retain a      of applicant’s endeavor, in that one of the references that used
folding mechanism,” and because “nothing about ICON’s                 an animal body as a resistive switch to complete a circuit for
folding mechanism requires any particular focus on treadmills,”       the generation of an electric charge was not in the field of pest
 Id. at 1378, 1380, 83 USPQ2d at 1749-50.                             control.

 ICON is also informative as to the relationship between the          Example 7:
problem to be solved and existence of a reason to combine.
“Indeed, while perhaps not dispositive of the issue, the finding      The invention at issue in Muniauction, Inc. v. Thomson Corp.,
that Teague, by addressing a similar problem, provides                532 F.3d 1318, 87 USPQ2d1350 (Fed. Cir. 2008), was a method
analogous art to ICON’s application goes a long way towards           for auctioning municipal bonds over the Internet. A municipality
demonstrating a reason to combine the two references. Because         could offer a package of bond instruments of varying principal
ICON’s broad claims read on embodiments addressing that               amounts and maturity dates, and an interested buyer would then
problem as described by Teague, the prior art here indicates a        submit a bid comprising a price and interest rate for each
reason to incorporate its teachings.” Id. at 1380-81, 83 USPQ2d       maturity date. It was also possible for the interested buyer to
at 1751.                                                              bid on a portion of the offering. The claimed invention
                                                                      considered all of the noted parameters to determine the best bid.
                                                                      It operated on conventional Web browsers and allowed
The Federal Circuit’s discussion in ICON also makes clear that        participants to monitor the course of the auction.
if the reference does not teach that a combination is undesirable,
then it cannot be said to teach away. An assessment of whether
a combination would render the device inoperable must not             The only difference between the prior art bidding system and
“ignore the modifications that one skilled in the art would make      the claimed invention was the use of a conventional Web
to a device borrowed from the prior art.” Id. at 1382, 83             browser. At trial, the district court had determined that
USPQ2d at 1752.                                                       Muniauction’s claims were not obvious. Thomson argued that
                                                                      the claimed invention amounted to incorporating a Web browser
Example 6:                                                            into a prior art auction system, and was therefore obvious in
                                                                      light of KSR. Muniauction rebutted the argument by offering
 Agrizap, Inc. v. Woodstream Corp., 520 F.3d 1337, 86 USPQ2d          evidence of skepticism by experts, copying, praise, and
1110 (Fed. Cir. 2008), involved a stationary pest control device      commercial success. Although the district court found the
for electrocution of pests such as rats and gophers, in which the     evidence to be persuasive of nonobviousness, the Federal Circuit
device is set in an area where the pest is likely to encounter it.    disagreed. It noted that a nexus between the claimed invention
The only difference between the claimed device and the prior          and the proffered evidence was lacking because the evidence
art stationary pest control device was that the claimed device        was not coextensive with the claims at issue. For this reason,
employed a resistive electrical switch, while the prior art device



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the Federal Circuit determined that Muniauction’s evidence of          In the chemical arts, the cases involving so-called “lead
secondary considerations was not entitled to substantial weight.       compounds” form an important subgroup of the obviousness
                                                                       cases that are based on substitution. The Federal Circuit has had
 The Federal Circuit analogized this case to Leapfrog Enters.,         a number of opportunities since the KSR decision to discuss
Inc. v. Fisher-Price, Inc., 485 F.3d 1157, 82 USPQ2d 1687              the circumstances under which it would have been obvious to
(Fed. Cir. 2007). The Leapfrog case involved a determination           modify a known compound to arrive at a claimed compound.
of obviousness based on application of modern electronics to a         The following cases explore the selection of a lead compound,
prior art mechanical children’s learning device. In Leapfrog,          the need to provide a reason for any proposed modification, and
the court noted that market pressures would have prompted a            the predictability of the result.
person of ordinary skill to use modern electronics in the prior
                                                                       Example 9:
art device. Similarly in Muniauction, market pressures would
have prompted a person of ordinary skill to use a conventional          Eisai Co. Ltd. v. Dr. Reddy’s Labs., Ltd., 533 F.3d 1353, 87
Web browser in a method of auctioning municipal bonds.                 USPQ2d 1452 (Fed. Cir. 2008), concerns the pharmaceutical
                                                                       compound rabeprazole. Rabeprazole is a proton pump inhibitor
Example 8:
                                                                       for treating stomach ulcers and related disorders. The Federal
In Aventis Pharma Deutschland v. Lupin Ltd., 499 F.3d 1293,            Circuit affirmed the district court’s summary judgment of
84 USPQ2d 1197 (Fed. Cir. 2007), the claims were drawn to              nonobviousness, stating that no reason had been advanced to
the 5(S) stereoisomer of the blood pressure drug ramipril in           modify the prior art compound in a way that would destroy an
stereochemically pure form, and to compositions and methods            advantageous property.
requiring 5(S) ramipril. The 5(S) stereoisomer is one in which
all five stereocenters in the ramipril molecule are in the S rather    Co-defendant Teva based its obviousness argument on the
than the R configuration. A mixture of various stereoisomers           structural similarity between rabeprazole and lansoprazole. The
including 5(S) ramipril had been taught by the prior art. The          compounds were recognized as sharing a common core, and the
question before the court was whether the purified single              Federal Circuit characterized lansoprazole as a “lead compound.”
stereoisomer would have been obvious over the known mixture            The prior art compound lansoprazole was useful for the same
of stereoisomers.                                                      indications as rabeprazole, and differed from rabeprazole only
                                                                       in that lansoprazole has a trifluoroethoxy substituent at the
The record showed that the presence of multiple S stereocenters        4-position of the pyridine ring, while rabeprazole has a
in drugs similar to ramipril was known to be associated with           methoxypropoxy substituent. The trifluoro substituent of
enhanced therapeutic efficacy. For example, when all of the            lansoprazole was known to be a beneficial feature because it
stereocenters were in the S form in the related drug enalapril         conferred lipophilicity to the compound. The ability of a person
(SSS enalapril) as compared with only two stereocenters in the         of ordinary skill to carry out the modification to introduce the
S form (SSR enalapril), the therapeutic potency was 700 times          methoxypropoxy substituent, and the predictability of the result
as great. There was also evidence to indicate that conventional        were not addressed.
methods could be used to separate the various stereoisomers of
ramipril.                                                              Despite the significant similarity between the structures, the
                                                                       Federal Circuit did not find any reason to modify the lead
The district court saw the issue as a close case, because, in its      compound. According to the Federal Circuit:
view, there was no clear motivation in the prior art to isolate
5(S) ramipril. However, the Federal Circuit disagreed, and found            Obviousness based on structural similarity thus can be
that the claims would have been obvious. The Federal Circuit                proved by identification of some motivation that would
cautioned that requiring such a clearly stated motivation in the            have led one of ordinary skill in the art to select and then
prior art to isolate 5(S) ramipril ran counter to the Supreme               modify a known compound (i.e. a lead compound) in a
Court’s decision in KSR, and the court stated:                              particular way to achieve the claimed compound. . . . In
                                                                            keeping with the flexible nature of the obviousness
  Requiring an explicit teaching to purify the 5(S)                         inquiry, the requisite motivation can come from any
  stereoisomer from a mixture in which it is the active                     number of sources and need not necessarily be explicit in
  ingredient is precisely the sort of rigid application of the              the art. Rather “it is sufficient to show that the claimed
  TSM test that was criticized in KSR.                                      and prior art compounds possess a ‘sufficiently close
                                                                            relationship . . . to create an expectation,’ in light of the
                                                                            totality of the prior art, that the new compound will have
 Id. at 1301, 84 USPQ2d at 1204. The Aventis court also relied              ‘similar properties’ to the old.” Id. at 1357, 87 USPQ2d
on the settled principle that in chemical cases, structural                 at 1455. (citations omitted)
similarity can provide the necessary reason to modify prior art
teachings. The Federal Circuit also addressed the kind of
teaching that would be sufficient in the absence of an explicitly      The prior art taught that introducing a fluorinated substituent
stated prior art-based motivation, explaining that an expectation      was known to increase lipophilicity, so a skilled artisan would
of similar properties in light of the prior art can be sufficient,     have expected that replacing the trifluoroethoxy substituent with
even without an explicit teaching that the compound will have          a methoxypropoxy substituent would have reduced the
a particular utility.                                                  lipophilicity of the compound. Thus, the prior art created the



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expectation that rabeprazole would be less useful than               Procter & Gamble’s osteoporosis drug Actonel®. Risedronate
lansoprazole as a drug for treating stomach ulcers and related       is an example of a bisphosphonate, which is a class of
disorders because the proposed modification would have               compounds known to inhibit bone resorption.
destroyed an advantageous property of the prior art compound.
The compound was not obvious as argued by Teva because,
upon consideration of all of the facts of the case, a person of      When Procter & Gamble sued Teva for infringement, Teva
ordinary skill in the art at the time of the invention would not     defended by arguing invalidity for obviousness over one of
have had a reason to modify lansoprazole so as to form               Procter & Gamble’s earlier patents. The prior art patent did not
rabeprazole.                                                         teach risedronate, but instead taught thirty-six other similar
                                                                     compounds including 2-pyr EHDP that were potentially useful
                                                                     with regard to osteoporosis. Teva argued obviousness on the
Office personnel are cautioned that the term “lead compound”         basis of structural similarity to 2-pyr EHDP, which is a positional
in a particular opinion can have a contextual meaning that may       isomer of risedronate.
vary from the way a pharmaceutical chemist might use the term.
In the field of pharmaceutical chemistry, the term “lead
compound” has been defined variously as “a chemical compound         The district court found no reason to select 2-pyr EHDP as a
that has pharmacological or biological activity and whose            lead compound in light of the unpredictable nature of the art,
chemical structure is used as a starting point for chemical          and no reason to modify it so as to obtain risedronate. In
modifications in order to improve potency, selectivity, or           addition, there were unexpected results as to potency and
pharmacokinetic parameters;” “[a] compound that exhibits             toxicity. Therefore the district court found that Teva had not
pharmacological properties which suggest its development;”           made a prima facie case, and even if it had, it was rebutted by
and “a potential drug being tested for safety and efficacy.” See,    evidence of unexpected results.
e.g., http://en.wikipedia.org/wiki/Lead_compound, accessed
January 13, 2010; www.combichemistry.com/glossary_k.html,            The Federal Circuit affirmed the district court’s decision. The
accessed           January          13,       2010;         and      Federal Circuit did not deem it necessary in this case to consider
www.buildingbiotechnology.com/glossary4.php,            accessed     the question of whether 2-pyr EHDP had been appropriately
January 13, 2010.                                                    selected as a lead compound. Rather, the Federal Circuit
                                                                     reasoned that, if 2-pyr EHDP is presumed to be an appropriate
The Federal Circuit in Eisai makes it clear that from the            lead compound, there must be both a reason to modify it so as
perspective of the law of obviousness, any known compound            to make risedronate and a reasonable expectation of success.
might possibly serve as a lead compound: “Obviousness based          Here, there was no evidence that the necessary modifications
on structural similarity thus can be proved by identification of     would have been routine, so there would have been no
some motivation that would have led one of ordinary skill in         reasonable expectation of success.
the art to select and then modify a known compound (i.e. a lead
compound) in a particular way to achieve the claimed                  Procter & Gamble is also informative in its discussion of the
compound.” Eisai, 533 F.3d at 1357, 87 USPQ2d at 1455. Thus,         treatment of secondary considerations of non-obviousness.
Office personnel should recognize that a proper obviousness          Although the court found that no prima facie case of
rejection of a claimed compound that is useful as a drug might       obviousness had been presented, it proceeded to analyze Procter
be made beginning with an inactive compound, if, for example,        & Gamble’s proffered evidence countering the alleged prima
the reasons for modifying a prior art compound to arrive at the      facie case in some detail, thus shedding light on the proper
claimed compound have nothing to do with pharmaceutical              treatment of such evidence.
activity. The inactive compound would not be considered to be
a lead compound by pharmaceutical chemists, but could                The Federal Circuit noted in dicta that even if a prima facie
potentially be used as such when considering obviousness. Office     case of obviousness had been established, sufficient evidence
personnel might also base an obviousness rejection on a known        of unexpected results was introduced to rebut such a showing.
compound that pharmaceutical chemists would not select as a          At trial, the witnesses consistently testified that the properties
lead compound due to expense, handling issues, or other business     of risedronate were not expected, offering evidence that
considerations. However, there must be some reason for starting      researchers did not predict either the potency or the low dose at
with that lead compound other than the mere fact that the “lead      which the compound was effective. Tests comparing risedronate
compound” merely exists. See Altana Pharma AG v. Teva                to a compound in the prior art reference showed that risedronate
Pharm. USA, Inc., 566 F.3d 999, 1007, 91 USPQ2d 1018, 1024           outperformed the other compound by a substantial margin, could
(Fed. Cir. 2009) (holding that there must be some reason “to         be administered in a greater amount without an observable toxic
select and modify a known compound”); Ortho-McNeil Pharm.,           effect, and was not lethal at the same levels as the other
Inc. v. Mylan Labs, Inc., 520 F.3d 1358, 1364, 86 USPQ2d 1196,       compound. The weight of the evidence and the credibility of
1201 (Fed. Cir. 2008).                                               the witnesses were sufficient to show unexpected results that
                                                                     would have rebutted an obviousness determination. Thus,
Example 10:
                                                                     nonobviousness can be shown when a claimed invention is
The claimed chemical compound was also found to be                   shown to have unexpectedly superior properties when compared
nonobvious in Procter & Gamble Co. v. Teva Pharm. USA,               to the prior art.
Inc., 566 F.3d 989, 90 USPQ2d 1947 (Fed. Cir. 2009). The
compound at issue was risedronate – the active ingredient of



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The court then addressed the evidence of commercial success            have selected compound 12 as a lead compound for
of risedronate and the evidence that risedronate met a long felt       modification, and the Federal Circuit affirmed.
need. The court pointed out that little weight was to be afforded
to the commercial success because the competing product was            Obviousness of a chemical compound in view of its structural
also assigned to Procter & Gamble. However, the Federal Circuit        similarity to a prior art compound may be shown by identifying
affirmed the district court’s conclusion that risedronate met a        some line of reasoning that would have led one of ordinary skill
long-felt, but unsatisfied need. The court rejected Teva’s             in the art to select and modify the prior art compound in a
contention that because the competing drug was available before        particular way to produce the claimed compound. The necessary
Actonel7, there was no unmet need that the invention satisfied.        line of reasoning can be drawn from any number of sources and
The court emphasized that whether there was a long-felt but            need not necessarily be explicitly found in the prior art of record.
unsatisfied need is to be evaluated based on the circumstances         The Federal Circuit determined that ample evidence supported
as of the filing date of the challenged invention – not as of the      the district court’s finding that compound 12 was a natural
date that the invention is brought to market.                          choice for further development. For example, Altana’s prior art
                                                                       patent claimed that its compounds, including compound 12,
It should be noted that the lead compound cases do not stand           were improvements over the prior art; compound 12 was
for the proposition that identification of a single lead compound      disclosed as one of the more potent of the eighteen compounds
is necessary in every obviousness rejection of a chemical              disclosed; the patent examiner had considered the compounds
compound. For example, one might envision a suggestion in              of Altana’s prior art patent to be relevant during the prosecution
the prior art to formulate a compound having certain structurally      of the patent in suit; and experts had opined that one of ordinary
defined moieties, or moieties with certain properties. If a person     skill in the art would have selected the eighteen compounds to
of ordinary skill would have known how to synthesize such a            pursue further investigation into their potential as proton pump
compound, and the structural and/or functional result could            inhibitors.
reasonably have been predicted, then a prima facie case of
obviousness of the claimed chemical compound might exist               In response to Altana’s argument that the prior art must point
even without identification a particular lead compound. As a           to only a single lead compound for further development, the
second example, it could be possible to view a claimed                 Federal Circuit stated that a “restrictive view of the lead
compound as consisting of two known compounds attached via             compound test would present a rigid test similar to the
a chemical linker. The claimed compound might properly be              teaching-suggestion-motivation test that the Supreme Court
found to have been obvious if there would have been a reason           explicitly rejected in KSR . . . . The district court in this case
to link the two, if one of ordinary skill would have known how         employed a flexible approach – one that was admittedly
to do so, and if the resulting compound would have been the            preliminary – and found that the defendants had raised a
predictable result of the linkage procedure. Thus, Office              substantial question that one of skill in the art would have used
personnel should recognize that in certain situations, it may be       the more potent compounds of [Altana’s prior art] patent,
proper to reject a claimed chemical compound as obvious even           including compound 12, as a starting point from which to pursue
without identifying a single lead compound.                            further development efforts. That finding was not clearly
                                                                       erroneous.” Id. at 1008, 91 USPQ2d at 1025.
Example 11:

The decision reached by the Federal Circuit in Altana Pharma           C. Use of Known Technique To Improve Similar
AG v. Teva Pharm. USA, Inc., 566 F.3d 999, 91 USPQ2d 1018              Devices (Methods, or Products) in the Same Way
(Fed. Cir. 2009), as discussed below, involved a motion for
preliminary injunction and did not include a final determination
of obviousness. However, the case is instructive as to the issue       To reject a claim based on this rationale, Office
of selecting a lead compound.                                          personnel must resolve the Graham factual
                                                                       inquiries. Then, Office personnel must articulate the
The technology involved in Altana was the compound                     following:
pantoprazole, which is the active ingredient in Altana’s antiulcer
drug Protonix®. Pantoprazole belongs to a class of compounds              (1) a finding that the prior art contained a “base”
known as proton pump inhibitors that are used to treat gastric         device (method, or product) upon which the claimed
acid disorders in the stomach.
                                                                       invention can be seen as an “improvement;”
Altana accused Teva of infringement. The district court denied             (2) a finding that the prior art contained a
Altana’s motion for preliminary injunction for failure to establish    “comparable” device (method, or product that is not
a likelihood of success on the merits, determining that Teva had       the same as the base device) that has been improved
demonstrated a substantial question of invalidity for obviousness
                                                                       in the same way as the claimed invention;
in light of one of Altana’s prior patents. Altana’s patent
discussed a compound referred to as compound 12, which was                (3) a finding that one of ordinary skill in the art
one of eighteen compounds disclosed. The claimed compound              could have applied the known “improvement”
pantoprazole was structurally similar to compound 12. The
district court found that one of ordinary skill in the art would
                                                                       technique in the same way to the “base” device



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(method, or product) and the results would have been                    inverter circuit of the USSR document would have been obvious
predictable to one of ordinary skill in the art; and                    to one of ordinary skill.

    (4) whatever additional findings based on the                       Example 2:
Graham factual inquiries may be necessary, in view
                                                                        The fact pattern in Ruiz v. AB Chance Co., 357 F.3d 1270, 69
of the facts of the case under consideration, to                        USPQ2d 1686 (Fed. Cir. 2004) is set forth above in Example 2
explain a conclusion of obviousness.                                    in subsection I.A.

The rationale to support a conclusion that the claim
                                                                        The nature of the problem to be solved may lead inventors to
would have been obvious is that a method of                             look at references relating to possible solutions to that problem.
enhancing a particular class of devices (methods, or                     Id. at 1277, 69 USPQ2d at 1691. Therefore, it would have been
products) has been made part of the ordinary                            obvious to use a metal bracket (as shown in Gregory) with the
capabilities of one skilled in the art based upon the                   screw anchor (as shown in Fuller) to underpin unstable
                                                                        foundations.
teaching of such improvement in other situations.
One of ordinary skill in the art would have been
                                                                         D. Applying a Known Technique to a Known Device
capable of applying this known method of
                                                                        (Method, or Product) Ready for Improvement To Yield
enhancement to a “base” device (method, or product)                     Predictable Results
in the prior art and the results would have been
predictable to one of ordinary skill in the art. The
                                                                        To reject a claim based on this rationale, Office
Supreme Court in KSR noted that if the actual
                                                                        personnel must resolve the Graham factual
application of the technique would have been beyond
                                                                        inquiries. Then, Office personnel must articulate the
the skill of one of ordinary skill in the art, then using
                                                                        following:
the technique would not have been obvious. KSR,
550 U.S. at 417, 82 USPQ2d at 1396. If any of these                        (1) a finding that the prior art contained a “base”
findings cannot be made, then this rationale cannot                     device (method, or product) upon which the claimed
be used to support a conclusion that the claim would                    invention can be seen as an “improvement;”
have been obvious to one of ordinary skill in the art.
                                                                           (2) a finding that the prior art contained a known
Example 1:                                                              technique that is applicable to the base device
The claimed invention in In re Nilssen, 851 F.2d 1401, 7                (method, or product);
USPQ2d 1500 (Fed. Cir. 1988) was directed to a “means by                   (3) a finding that one of ordinary skill in the art
which the self-oscillating inverter in a power-line-operated
inverter-type fluorescent lamp ballast is disabled in case the
                                                                        would have recognized that applying the known
output current from the inverter exceeds some pre-established           technique would have yielded predictable results
threshold level for more than a very brief period.” Id. at 1402,        and resulted in an improved system; and
7 USPQ2d at 1501 That is, the current output was monitored,
and if the current output exceeded some threshold for a specified           (4) whatever additional findings based on the
short time, an actuation signal was sent and the inverter was           Graham factual inquiries may be necessary, in view
disabled to protect it from damage.                                     of the facts of the case under consideration, to
                                                                        explain a conclusion of obviousness.
The prior art (a USSR certificate) described a device for
protecting an inverter circuit in an undisclosed manner via a           The rationale to support a conclusion that the claim
control means. The device indicated the high-load condition by          would have been obvious is that a particular known
way of the control means, but did not indicate the specific             technique was recognized as part of the ordinary
manner of overload protection. The prior art (Kammiller)
disclosed disabling the inverter in the event of a high-load
                                                                        capabilities of one skilled in the art. One of ordinary
current condition in order to protect the inverter circuit. That is,    skill in the art would have been capable of applying
the overload protection was achieved by disabling the inverter          this known technique to a known device (method,
by means of a cutoff switch.                                            or product) that was ready for improvement and the
                                                                        results would have been predictable to one of
The court found “it would have been obvious to one of ordinary          ordinary skill in the art. If any of these findings
skill in the art to use the threshold signal produced in the USSR
device to actuate a cutoff switch to render the inverter
                                                                        cannot be made, then this rationale cannot be used
inoperative as taught by Kammiller.” Id. at 1403, 7 USPQ2d              to support a conclusion that the claim would have
at 1502. That is, using the known technique of a cutoff switch          been obvious to one of ordinary skill in the art.
for protecting a circuit to provide the protection desired in the


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Example 1:
                                                                     The basic technique of putting indicia on data to enable standard
The claimed invention in Dann v. Johnston, 425 U.S. 219, 189         sorting, searching, and reporting yielded no more than the
USPQ 257 (1976) was directed towards a system (i.e., computer)       predictable outcome which one of ordinary skill would have
for automatic record keeping of bank checks and deposits. In         expected to achieve with this common tool of the trade and was
this system, a customer would put a numerical category code          therefore an obvious expedient. The Court held that “[t]he gap
on each check or deposit slip. The check processing system           between the prior art and respondent’s system is simply not so
would record these on the check in magnetic ink, just as it does     great as to render the system nonobvious to one reasonably
for amount and account information. With this system in place,       skilled in the art.” Id. at 230, 189 USPQ at 261.
the bank can provide statements to customers that are broken
                                                                     Example 2:
down to give subtotals for each category. The claimed system
also allowed the bank to print reports according to a style          The fact pattern in In re Nilssen, 851 F.2d 1401, 7 USPQ2d
requested by the customer. As characterized by the Court,            1500 (Fed. Cir. 1988) is set forth above in Example 1 in
“[u]nder respondent’s invention, then, a general purpose             subsection C.
computer is programmed to provide bank customers with an
individualized and categorized breakdown of their transactions
during the period in question.” Id. at 222, 189 USPQ at 259.         The court found “it would have been obvious to one of ordinary
                                                                     skill in the art to use the threshold signal produced in the USSR
                                                                     device to actuate a cutoff switch to render the inverter
BASE SYSTEM - The nature of the use of data processing               inoperative as taught by Kammiller.” Id. at 1403, 7 USPQ2d
equipment and computer software in the banking industry was          at 1502. The known technique of using a cutoff switch would
that banks routinely did much of the record-keeping                  have predictably resulted in protecting the inverter circuit.
automatically. In routine check processing, the system read any      Therefore, it would have been within the skill of the ordinary
magnetic ink characters identifying the account and routing.         artisan to use a cutoff switch in response to the actuation signal
The system also read the amount of the check and then printed        to protect the inverter.
that value in a designated area of the check. The check was then
sent through a further data processing step which used the           Example 3:
magnetic ink information to generate the appropriate records
for transactions and for posting to the appropriate accounts.        The claimed invention in In re Urbanski, 809 F.3d 1237, 1244,
These systems included generating periodic statements for each       117 USPQ2d 1499, 1504 (Fed. Cir. 2016) was directed to a
account, such as the monthly statement sent to checking account      method of enzymatic hydrolysis of soy fiber to reduce water
customers.                                                           holding capacity, requiring reacting the soy fiber and enzyme
                                                                     in water for about 60-120 minutes. The claims were rejected
IMPROVED SYSTEM - The claimed invention supplemented                 over two references, wherein the primary reference, Gross,
this system by recording a category code which could be used         taught using a reaction time of 5 to 72 hours and the secondary
to track expenditures by category. Again, the category code will     reference, Wong, taught using a reaction time of 100 to 240
be a number recorded on the check (or deposit slip) which will       minutes, preferably 120 minutes. The applicant argued that
be read, converted into a magnetic ink imprint, and then             modifying the primary reference in the manner suggested by
processed in the data system to include the category code. This      the secondary reference would forego the benefits taught by the
enabled reporting of data by category as opposed to only             primary reference, thereby teaching away from the combination.
allowing reporting by account number.                                The court found there was sufficient motivation to combine
                                                                     because both references recognized reaction time and degree of
                                                                     hydrolysis as result-effective variables, which can be varied to
KNOWN TECHNIQUE - This is an application of a technique              have a predictable effect on the final product; and the primary
from the prior art – the use of account numbers (generally used      reference does not contain an express teaching away from the
to track an individual's total transactions) to solve the problem    proposed modification. “Substantial evidence thus supports the
of how to track categories of expenditures to more finely account    Board’s finding that a person of ordinary skill would have been
for a budget. That is, account numbers (identifying data capable     motivated to modify the Gross process by using a shorter
of processing in the automatic data processing system) were          reaction time, in order to obtain the favorable properties
used to distinguish between different customers. Furthermore,        disclosed in Wong.”
banks have long segregated debits attributable to service charges
within any given separate account and have rendered their
customers subtotals for those charges. Previously, one would         E. “Obvious To Try” – Choosing From a Finite
have needed to set up separate accounts for each category and        Number of Identified, Predictable Solutions, With a
thus receive separate reports. Supplementing the account             Reasonable Expectation of Success
information with additional digits (the category codes) solved
the problem by effectively creating a single account that can be
treated as distinct accounts for tracking and reporting services.
                                                                     To reject a claim based on this rationale, Office
That is, the category code merely allowed what might previously      personnel must resolve the Graham factual
have been separate accounts to be handled as a single account,       inquiries. Then, Office personnel must articulate the
but with a number of sub-accounts indicated in the report.           following:




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    (1) a finding that at the time of the invention,        The Federal Circuit pointed out the challenging
there had been a recognized problem or need in the          nature of the task faced by the courts – and likewise
art, which may include a design need or market              by Office personnel – when considering the viability
pressure to solve a problem;                                of an obvious to try argument: “The evaluation of
    (2) a finding that there had been a finite number       the choices made by a skilled scientist, when such
of identified, predictable potential solutions to the       choices lead to the desired result, is a challenge to
recognized need or problem;                                 judicial understanding of how technical advance is
                                                            achieved in the particular field of science or
   (3) a finding that one of ordinary skill in the art      technology.” Abbott Labs. v. Sandoz, Inc., 544 F.3d
could have pursued the known potential solutions            1341, 1352, 89 USPQ2d 1161, 1171 (Fed. Cir.
with a reasonable expectation of success; and               2008). The Federal Circuit cautioned that an
    (4) whatever additional findings based on the           obviousness inquiry based on an obvious to try
Graham factual inquiries may be necessary, in view          rationale must always be undertaken in the context
of the facts of the case under consideration, to            of the subject matter in question, “including the
explain a conclusion of obviousness.                        characteristics of the science or technology, its state
                                                            of advance, the nature of the known choices, the
The rationale to support a conclusion that the claim
                                                            specificity or generality of the prior art, and the
would have been obvious is that “a person of
                                                            predictability of results in the area of interest.” Id.
ordinary skill has good reason to pursue the known
options within his or her technical grasp. If this leads    Example 1:
to the anticipated success, it is likely that product
                                                            The claimed invention in Pfizer, Inc. v. Apotex, Inc., 480 F.3d
[was] not of innovation but of ordinary skill and           1348, 82 USPQ2d 1321 (Fed. Cir. 2007), was directed to the
common sense. In that instance the fact that a              amlodipine besylate drug product, which was sold in tablet form
combination was obvious to try might show that it           in the United States under the trademark Norvasc®. Amlodipine
was obvious under § 103.” KSR, 550 U.S. at 421,             and the use of besylate anions were both known at the time of
82 USPQ2d at 1397. If any of these findings cannot          the invention. Amlodipine was known to have the same
be made, then this rationale cannot be used to              therapeutic properties as were being claimed for the amlodipine
                                                            besylate, but Pfizer discovered that the besylate form had better
support a conclusion that the claim would have been
                                                            manufacturing properties (e.g., reduced “stickiness”).
obvious to one of ordinary skill in the art.
                                                            Pfizer argued that the results of forming amlodipine besylate
The question of whether a claimed invention can be          would have been unpredictable and therefore nonobvious. The
shown to be obvious based on an “obvious to try”            court rejected the notion that unpredictability could be equated
line of reasoning has been explored extensively by          with nonobviousness here, because there were only a finite
                                                            number (53) of pharmaceutically acceptable salts to be tested
the Federal Circuit in several cases since the KSR          for improved properties.
decision. The case law in this area is developing
quickly in the chemical arts, although the rationale        The court found that one of ordinary skill in the art having
has been applied in other art areas as well.                problems with the machinability of amlodipine would have
                                                            looked to forming a salt of the compound and would have been
                                                            able to narrow the group of potential salt-formers to a group of
Some commentators on the KSR decision have
                                                            53 anions known to form pharmaceutically acceptable salts,
expressed a concern that because inventive activities       which would be an acceptable number to form “a reasonable
are always carried out in the context of what has           expectation of success.”
come before and not in a vacuum, few inventions
                                                            Example 2:
will survive scrutiny under an obvious to try
standard. The cases decided since KSR have proved           The claimed invention in Alza Corp. v. Mylan Labs., Inc., 464
this fear to have been unfounded. Courts appear to          F.3d 1286, 80 USPQ2d 1001 (Fed. Cir. 2006) was drawn to
be applying the KSR requirement for “a finite               sustained-release formulations of the drug oxybutynin in which
                                                            the drug is released at a specified rate over a 24-hour period.
number of identified predictable solutions” in a            Oxybutynin was known to be highly water-soluble, and the
manner that places particular emphasis on                   specification had pointed out that development of
predictability and the reasonable expectations of           sustained-release formulations of such drugs presented particular
those of ordinary skill in the art.                         problems.




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A prior art patent to Morella had taught sustained-release            identified, predictable solutions, a person of ordinary skill has
compositions of highly water-soluble drugs, as exemplified by         good reason to pursue the known options within his or her
a sustained-release formulation of morphine. Morella had also         technical grasp. If this leads to anticipated success, it is likely
identified oxybutynin as belonging to the class of highly             the product not of innovation but of ordinary skill and common
water-soluble drugs. The Baichwal prior art patent had taught         sense.” The Board noted that the problem facing those in the
a sustained-release formulation of oxybutynin that had a different    art was to isolate a specific nucleic acid, and there were a limited
release rate than the claimed invention. Finally, the Wong prior      number of methods available to do so. The Board concluded
art patent had taught a generally applicable method for delivery      that the skilled artisan would have had reason to try these
of drugs over a 24-hour period. Although Wong mentioned               methods with the reasonable expectation that at least one would
applicability of the disclosed method to several categories of        be successful. Thus, isolating the specific nucleic acid molecule
drugs to which oxybutynin belonged, Wong did not specifically         claimed was “the product not of innovation but of ordinary skill
mention its applicability to oxybutynin.                              and common sense.”

The court found that because the absorption properties of             The Board’s reasoning was substantially adopted by the Federal
oxybutynin would have been reasonably predictable at the time         Circuit. However, it is important to note that in the Kubin
of the invention, there would have been a reasonable expectation      decision, the Federal Circuit held that “the Supreme Court in
of successful development of a sustained-release formulation           KSR unambiguously discredited” the Federal Circuit’s decision
of oxybutynin as claimed. The prior art, as evidenced by the          in Deuel, insofar as it “implies the obviousness inquiry cannot
specification, had recognized the obstacles to be overcome in         consider that the combination of the claim’s constituent elements
development of sustained-release formulations of highly               was ‘obvious to try.’” Kubin, 561 F.3d at 1358, 90 USPQ2d at
water-soluble drugs, and had suggested a finite number of ways        1422. Instead, Kubin stated that KSR “resurrects” the Federal
to overcome these obstacles. The claims were obvious because          Circuit’s own wisdom in O’Farrell, in which “to differentiate
it would have been obvious to try the known methods for               between proper and improper applications of ‘obvious to try,’”
formulating sustained-release compositions, with a reasonable         the Federal Circuit “outlined two classes of situations where
expectation of success. The court was not swayed by arguments         ‘obvious to try’ is erroneously equated with obviousness under
of a lack of absolute predictability.                                 § 103.” Kubin, 561 F.3d at 1359, 90 USPQ2d at 1423. These
                                                                      two classes of situations are: (1) when what would have been
Example 3:                                                            “obvious to try” would have been to vary all parameters or try
                                                                      each of numerous possible choices until one possibly arrived at
The Federal Circuit’s decision in In re Kubin, 561 F.3d 1351,         a successful result, where the prior art gave either no indication
90 USPQ2d 1417 (Fed. Cir. 2009), affirmed the Office’s                of which parameters were critical or no direction as to which of
determination in Ex parte Kubin, 83 USPQ2d 1410 (Bd. Pat.             many possible choices is likely to be successful; and (2) when
App. & Int. 2007) that the claims in question, directed to an         what was “obvious to try” was to explore a new technology or
isolated nucleic acid molecule, would have been obvious over          general approach that seemed to be a promising field of
the prior art applied. The claim stated that the nucleic acid         experimentation, where the prior art gave only general guidance
encoded a particular polypeptide. The encoded polypeptide was         as to the particular form of the claimed invention or how to
identified in the claim by its partially specified sequence, and      achieve it. Id. (citing In re O’Farrell, 853 F.2d 894, 903, 7
by its ability to bind to a specified protein.                        USPQ2d 1673, 1681 (Fed. Cir.)).

A prior art patent to Valiante taught the polypeptide encoded         Example 4:
by the claimed nucleic acid, but did not disclose either the
sequence of the polypeptide, or the claimed isolated nucleic acid      Takeda Chem. Indus., Ltd. v. Alphapharm Pty., Ltd., 492 F.3d
molecule. However, Valiante did disclose that by employing            1350, 83 USPQ2d 1169 (Fed. Cir. 2007), is an example of a
conventional methods such as those disclosed by a prior art           chemical case in which the Federal Circuit found that the
laboratory manual by Sambrook, the sequence of the polypeptide        claimed invention was not obvious. The claimed compound was
could be determined, and the nucleic acid molecule could be           pioglitazone, a member of a class of drugs known as
isolated. In view of Valiante’s disclosure of the polypeptide,        thiazolidinediones (TZDs) marketed by Takeda as a treatment
and of routine prior art methods for sequencing the polypeptide       for Type 2 diabetes. The Takeda case brings together the
and isolating the nucleic acid molecule, the Board found that a       concept of a “lead compound” and the obvious-to-try argument.
person of ordinary skill in the art would have had a reasonable
expectation that a nucleic acid molecule within the claimed           Alphapharm had filed an Abbreviated New Drug Application
scope could have been successfully obtained.                          with the Food and Drug Administration, which was a technical
                                                                      act of infringement of Takeda’s patent. When Takeda brought
Relying on In re Deuel, 51 F.3d 1552, 34 USPQ2d 1210 (Fed.            suit, Alphapharm’s defense was that Takeda’s patent was invalid
Cir. 1995), appellant argued that it was improper for the Office      due to obviousness. Alphapharm argued that a two-step
to use the polypeptide of the Valiante patent together with the       modification – involving homologation and ring-walking – of
methods described in Sambrook to reject a claim drawn to a            a known compound identified as “compound b” would have
specific nucleic acid molecule without providing a reference          produced pioglitazone, and that it was therefore obvious.
showing or suggesting a structurally similar nucleic acid
molecule. Citing KSR, the Board stated that “when there is            The district court found that there would have been no reason
motivation to solve a problem and there are a finite number of        to select compound b as a lead compound. There were a large



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                                                                        Example 5:
number of similar prior art TZD compounds; fifty-four were
specifically identified in Takeda’s prior patent, and the district      The case of Ortho-McNeil Pharm., Inc. v. Mylan Labs, Inc.,
court observed that “hundreds of millions” were more generally          520 F.3d 1358, 86 USPQ2d 1196 (Fed. Cir. 2008), provides
disclosed. Although the parties agreed that compound b                  another example in which a chemical compound was determined
represented the closest prior art, one reference taught certain         not to be obvious. The claimed subject matter was topiramate,
disadvantageous properties associated with compound b, which            which is used as an anti-convulsant.
according to the district court would have taught the skilled
artisan not to select that compound as a lead compound. The
district court found no prima facie case of obviousness, and            In the course of working toward a new anti-diabetic drug,
stated that even if a prima facie case had been established, it         Ortho-McNeil’s scientist had unexpectedly discovered that a
would have been overcome in this case in view of the unexpected         reaction intermediate had anti-convulsant properties. Mylan’s
lack of toxicity of pioglitazone.                                       defense of invalidity due to obviousness rested on an obvious
                                                                        to try argument. However, Mylan did not explain why it would
                                                                        have been obvious to begin with an anti-diabetic drug precursor,
The Federal Circuit affirmed the decision of the district court,        especially the specific one that led to topiramate, if one had been
citing the need for a reason to modify a prior art compound. The        seeking an anti-convulsant drug. The district court ruled on
Federal Circuit quoted KSR, stating:                                    summary judgment that Ortho-McNeil’s patent was not invalid
                                                                        for obviousness.
  The KSR Court recognized that “[w]hen there is a design
  need or market pressure to solve a problem and there are              The Federal Circuit affirmed. The Federal Circuit pointed out
  a finite number of identified, predictable solutions, a               that there was no apparent reason a person of ordinary skill
  person of ordinary skill has good reason to pursue the                would have chosen the particular starting compound or the
  known options within his or her technical grasp.” KSR,                particular synthetic pathway that led to topiramate as an
  550 U.S. at 421, 82 USPQ2d at 1397. In such                           intermediate. Furthermore, there would have been no reason to
  circumstances, “the fact that a combination was obvious               test that intermediate for anticonvulsant properties if treating
  to try might show that it was obvious under § 103.” Id.               diabetes had been the goal. The Federal Circuit recognized an
  That is not the case here. Rather than identify predictable           element of serendipity in this case, which runs counter to the
  solutions for antidiabetic treatment, the prior art disclosed         requirement for predictability. Summarizing their conclusion
  a broad selection of compounds any one of which could                 with regard to Mylan’s obvious to try argument, the Federal
  have been selected as a lead compound for further                     Circuit stated:
  investigation. Significantly, the closest prior art compound
  (compound b, the 6-methyl) exhibited negative properties
  that would have directed one of ordinary skill in the art                  [T]his invention, contrary to Mylan’s characterization,
  away from that compound. Thus, this case fails to present                  does not present a finite (and small in the context of the
  the type of situation contemplated by the Court when it                    art) number of options easily traversed to show
  stated that an invention may be deemed obvious if it was                   obviousness. . . . KSR posits a situation with a finite, and
  “obvious to try.” The evidence showed that it was not                      in the context of the art, small or easily traversed, number
  obvious to try.                                                            of options that would convince an ordinarily skilled artisan
                                                                             of obviousness. . . . [T]his clearly is not the easily
                                                                             traversed, small and finite number of alternatives that
Takeda, 492 F.3d at 1359, 83 USPQ2d at 1176.                                    KSR suggested might support an inference of
                                                                             obviousness. Id. at 1364, 86 USPQ2d at 1201.
Accordingly, Office personnel should recognize that the obvious
to try rationale does not apply when the appropriate factual            Thus, Ortho-McNeil helps to clarify the Supreme Court’s
findings cannot be made. In Takeda, there was a recognized              requirement in KSR for “a finite number” of predictable
need for treatment of diabetes. However, there was no finite            solutions when an obvious to try rationale is applied: under the
number of identified, predictable solutions to the recognized           Federal Circuit’s case law “finite” means “small or easily
need, and no reasonable expectation of success. There were              traversed” in the context of the art in question. As taught in
numerous known TZD compounds, and although one clearly                   Abbott, discussed above, it is essential that the inquiry be placed
represented the closest prior art, its known disadvantages              in the context of the subject matter at issue, and each case must
rendered it unsuitable as a starting point for further research,        be decided on its own facts.
and taught the skilled artisan away from its use. Furthermore,
even if there had been reason to select compound b, there had           Example 6:
been no reasonable expectation of success associated with the
particular modifications necessary to transform compound b              In Bayer Schering Pharma A.G. v. Barr Labs., Inc., 575 F.3d
into the claimed compound pioglitazone. Thus, an obviousness            1341, 91 USPQ2d 1569 (Fed. Cir. 2009), the claimed invention
rejection based on an obvious to try rationale was not appropriate      was an oral contraceptive containing micronized drospirenone
in this situation.
                                                                        marketed as Yasmin®. The prior art compound drospirenone
                                                                        was known to be a poorly water-soluble, acid-sensitive
                                                                        compound with contraceptive effects. It was also known in the




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art that micronization improves the solubility of poorly water         dextrorotatory and levorotatory (D- and L-) isomers of the
soluble drugs.                                                         compound, was known in the prior art. The two forms had not
                                                                       previously been separated, and although the mixture was known
Based on the known acid sensitivity, Bayer had studied how             to have anti-thrombotic properties, the extent to which each of
effectively an enteric-coated drospirenone tablet delivered a          the individual isomers contributed to the observed properties of
formulation as compared to an intravenous injection of the same        the racemate was not known and was not predictable.
formulation to measure the “absolute bioavailability” of the
drug. Bayer added an unprotected (normal) drospirenone tablet          The district court assumed that in the absence of any additional
and compared its bioavailability to that of the enteric-coated         information, the D-isomer would have been prima facie obvious
formulation and the intravenous delivery. Bayer expected to            over the known racemate. However, in view of the evidence of
find that the enteric-coated tablet would produce a lower              unpredicted therapeutic advantages of the D-isomer presented
bioavailability than an intravenous injection, while the normal        in the case, the district court found that any prima facie case
pill would produce an even lower bioavailability than the              of obviousness had been overcome. At trial, the experts for both
enteric-coated tablet. However, they found that despite                parties testified that persons of ordinary skill in the art could
observations that drospirenone would quickly isomerize in a            not have predicted the degree to which the isomers would have
highly acidic environment (supporting the belief that an enteric       exhibited different levels of therapeutic activity and toxicity.
coating would be necessary to preserve bioavailability), the           Both parties’ experts also agreed that the isomer with greater
normal pill and the enteric-coated pill resulted in the same           therapeutic activity would most likely have had greater toxicity.
bioavailability. Following this study, Bayer developed                 Sanofi witnesses testified that Sanofi’s own researchers had
micronized drospirenone in a normal pill, the basis for the            believed that the separation of the isomers was unlikely to have
disputed patent.                                                       been productive, and experts for both parties agreed that it was
                                                                       difficult to separate isomers at the time of the invention.
The district court found that a person having ordinary skill in        Nevertheless, when Sanofi ultimately undertook the task of
the art would have considered the prior art result that a              separating the isomers, it found that they had the “rare
structurally related compound, spirorenone, though                     characteristic of ‘absolute stereoselectivity,’” whereby the
acid-sensitive, would nevertheless absorb in vivo, would have          D-isomer provided all of the favorable therapeutic activity but
suggested the same result for drospirenone. It also found that         no significant toxicity, while the L-isomer produced no
while another reference taught that drospirenone isomerizes in         therapeutic activity but virtually all of the toxicity. Based on
vitro when exposed to acid simulating the human stomach, a             this record, the district court concluded that Apotex had not met
person of ordinary skill would have been aware of the study’s          its burden of proving by clear and convincing evidence that
shortcomings, and would have verified the findings as suggested        Sanofi’s patent was invalid for obviousness. The Federal Circuit
by a treatise on the science of dosage form design, which would        affirmed the district court’s conclusion.
have then showed that no enteric coating was necessary.
                                                                       Office personnel should recognize that even when only a small
The Federal Circuit held that the patent was invalid because the       number of possible choices exist, the obvious to try line of
claimed formulation was obvious. The Federal Circuit reasoned          reasoning is not appropriate when, upon consideration of all of
that the prior art would have funneled the formulator toward           the evidence, the outcome would not have been reasonably
two options. Thus, the formulator would not have been required         predictable and the inventor would not have had a reasonable
to try all possibilities in a field unreduced by the prior art. The    expectation of success. In Bayer, there were art-based reasons
prior art was not vague in pointing toward a general approach          to expect that both the normal pill and the enteric-coated pill
or area of exploration, but rather guided the formulator precisely     would be therapeutically suitable, even though not all prior art
to the use of either a normal pill or an enteric-coated pill.          studies were in complete agreement. Thus, the result obtained
                                                                       was not unexpected. In Sanofi, on the other hand, there was
                                                                       strong evidence that persons of ordinary skill in the art, prior to
It is important for Office personnel to recognize that the mere        the separation of the isomers, would have had no reason to
existence of a large number of options does not in and of itself       expect that the D-isomer would have such strong therapeutic
lead to a conclusion of nonobviousness. Where the prior art            advantages as compared with the L-isomer. In other words, the
teachings lead one of ordinary skill in the art to a narrower set      result in Sanofi was unexpected.
of options, then that reduced set is the appropriate one to
consider when determining obviousness using an obvious to try          Example 8:
rationale.
                                                                       In Rolls-Royce, PLC v. United Tech. Corp., 603 F.3d 1325, 95
Example 7:                                                             USPQ2d 1097 (Fed. Cir. 2010), the Federal Circuit addressed
                                                                       the obvious to try rationale in the context of a fan blade for jet
The case of Sanofi-Synthelabo v. Apotex, Inc., 550 F.3d 1075,          engines. The case had arisen out of an interference proceeding.
89 USPQ2d 1370 (Fed. Cir. 2008), also sheds light on the               Finding that the district court had correctly determined that there
obvious to try line of reasoning. The claimed compound was             was no interference-in-fact because Rolls-Royce’s claims would
clopidogrel, which is the dextrorotatory isomer of methyl alpha-       not have been obvious in light of United’s application, the
5(4,5,6,7-tetrahydro(3,2-c)thienopyridyl)(2-chlorophenyl)-acetate.     Federal Circuit affirmed.
Clopidogrel is an anti-thrombotic compound used to treat or
prevent heart attack or stroke. The racemate, or mixture of



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The Federal Circuit described the fan blade of the count as               The Federal Circuit noted that based on “simple logic,” selecting
follows:                                                                  a new list of recipients was more likely to result in the desired
                                                                          outcome than resending to those who had not received the email
                                                                          on the first attempt. There had been no evidence of any
  Each fan blade has three regions – an inner, an                         unexpected result associated with selecting a new recipient list,
  intermediate, and an outer region. The area closest to the              and no evidence that the method would not have had a
  axis of rotation at the hub is the inner region. The area               reasonable likelihood of success. Thus, the Federal Circuit
  farthest from the center of the engine and closest to the               concluded that, as required by KSR, there were a “finite number
  casing surrounding the engine is the outer region. The                  of identified, predictable solutions,” and that the obvious to try
  intermediate region falls in between. The count defines a               inquiry properly led to the legal conclusion of obviousness.
  fan blade with a swept-forward inner region, a
  swept-rearward intermediate region, and forward-leaning
  outer region.                                                           The Federal Circuit in Perfect Web also discussed the role of
                                                                          common sense in the determination of obviousness. The district
                                                                          court had cited KSR for the proposition that “[a] person of
Id. at 1328, 95 USPQ2d at 1099.                                           ordinary skill is also a person of ordinary creativity, not an
                                                                          automaton,” and found that “the final step [of the claimed
United had argued that it would have been obvious for a person            invention] is merely the logical result of common sense
of ordinary skill in the art to try a fan blade design in which the       application of the maxim ‘try, try again.’” In affirming the
sweep angle in the outer region was reversed as compared with             district court, the Federal Circuit undertook an extended
prior art fan blades from rearward to forward sweep, in order             discussion of common sense as it has been applied to the
to reduce endwall shock. The Federal Circuit disagreed with               obviousness inquiry, both before and since the KSR decision.
United’s assessment that the claimed fan blade would have been
obvious based on an obvious to try rationale. The Federal Circuit         The Federal Circuit pointed out that application of common
pointed out that in a proper obvious to try approach to                   sense is not really an innovation in the law of obviousness when
obviousness, the possible options for solving a problem must              it stated, “Common sense has long been recognized to inform
have been “known and finite.” Id. at 1339, 95 USPQ2d at 1107              the analysis of obviousness if explained with sufficient
(citing Abbott, 544 F.3d at 1351, 89 USPQ2d at 1171). In this             reasoning.” Perfect Web, 587 F.3d at 1328, 92 USPQ2d at 1853
case, nothing in the prior art would have suggested that changing         (emphasis added). The Federal Circuit then provided a review
the sweep angle as Rolls-Royce had done would have addressed              of a number of precedential cases that inform the understanding
the issue of endwall shock. Thus, the Federal Circuit concluded           of common sense, including In re Bozek, 416 F.2d 1385, 1390,
that changing the sweep angle “would not have presented itself            163 USPQ 545, 549 (CCPA 1969) (explaining that a patent
as an option at all, let alone an option that would have been             examiner may rely on “common knowledge and common sense
obvious to try.” Id. The decision in Rolls-Royce is a reminder            of the person of ordinary skill in the art without any specific
to Office personnel that the obvious to try rationale can properly        hint or suggestion in a particular reference”) and In re Zurko,
be used to support a conclusion of obviousness only when the              258 F.3d 1379, 1383, 1385, 59 USPQ2d 1693 at 1695, 1697
claimed solution would have been selected from a finite number            (Fed. Cir. 2001) (clarifying that a factual foundation is needed
of potential solutions known to persons of ordinary skill in the          in order for an examiner to invoke “good common sense” in a
art.                                                                      case in which “basic knowledge and common sense was not
                                                                          based on any evidence in the record”). The Federal Circuit
Example 9:                                                                implicitly acknowledged in Perfect Web that the kind of strict
                                                                          evidence-based teaching, suggestion, or motivation required in
The case of Perfect Web Tech., Inc. v. InfoUSA, Inc., 587 F.3d
                                                                           In re Lee, 277 F.3d 1338, 1344, 61 USPQ2d 1430, 1434 (Fed.
1324, 1328-29, 92 USPQ2d 1849, 1854 (Fed. Cir. 2009),
                                                                          Cir. 2002), is not an absolute requirement for an obviousness
provides an example in which the Federal Circuit held that a
                                                                          rejection in light of the teachings of KSR. The Federal Circuit
claimed method for managing bulk email distribution was
                                                                          explained that “[a]t the time [of the Lee decision], we required
obvious on the basis of an obvious to try argument. In Perfect
                                                                          the PTO to identify record evidence of a teaching, suggestion,
Web, the method required selecting the intended recipients,
                                                                          or motivation to combine references.” However, Perfect Web
transmitting the emails, determining how many of the emails
                                                                          went on to state that even under Lee, common sense could
had been successfully received, and repeating the first three
                                                                          properly be applied when analyzing evidence relevant to
steps if a pre-determined minimum number of intended
                                                                          obviousness. Citing DyStar Textilfarben GmbH v. C.H. Patrick
recipients had not received the email.
                                                                          Co., 464 F.3d 1356, 80 USPQ2d 1641 (Fed. Cir. 2006), and In
                                                                          re Kahn, 441 F.3d 977, 78 USPQ2d 1329 (Fed. Cir. 2006), two
The Federal Circuit affirmed the district court’s determination           cases decided shortly before the Supreme Court’s decision in
on summary judgment that the claimed invention would have                   KSR, the Federal Circuit noted that although “a reasoned
been obvious. Failure to meet a desired quota of email recipients         explanation that avoids conclusory generalizations” is required
was a recognized problem in the field of email marketing. The             to use common sense, identification of a “specific hint or
prior art had also recognized three potential solutions: increasing       suggestion in a particular reference” is not. See also Arendi v.
the size of the initial recipient list; resending emails to recipients    Apple, 832 F.3d 1355, 119 USPQ2d 1822 (Fed. Cir. 2016)
who did not receive them on the first attempt; and selecting a            (finding that the Board had not provided a reasoned analysis,
new recipient list and sending emails to them. The last option            supported by the evidence of record, for why “common sense”
corresponded to the fourth step of the invention as claimed.              taught the missing process step).



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F. Known Work in One Field of Endeavor May Prompt                transactions – was closely analogous to the task of keeping track
Variations of It for Use in Either the Same Field or a           of the transaction files of individual business units. Id. at 229,
Different One Based on Design Incentives or Other                189 USPQ at 261. Thus, an artisan in the data processing area
Market Forces if the Variations Are Predictable to One           would have recognized the similar class of problem and the
                                                                 known solutions of the prior art and it would have been well
of Ordinary Skill in the Art
                                                                 within the ordinary skill level to implement the system in the
                                                                 different environment. The Court held that “[t]he gap between
To reject a claim based on this rationale, Office                the prior art and respondent’s system is simply not so great as
personnel must resolve the Graham factual                        to render the system nonobvious to one reasonably skilled in
                                                                 the art.” Id. at 230, 189 USPQ at 261.
inquiries. Then, Office personnel must articulate the
following:                                                       Example 2:

    (1) a finding that the scope and content of the              The claimed invention in Leapfrog Enterprises, Inc. v.
                                                                 Fisher-Price, Inc., 485 F.3d 1157, 82 USPQ2d 1687 (Fed. Cir.
prior art, whether in the same field of endeavor as              2007) was directed to a learning device to help young children
that of the applicant’s invention or a different field           read phonetically. The claim read as follows:
of endeavor, included a similar or analogous device
(method, or product);                                            An interactive learning device, comprising:
   (2) a finding that there were design incentives
                                                                 a housing including a plurality of switches;
or market forces which would have prompted
adaptation of the known device (method, or product);
                                                                 a sound production device in communication with the switches
    (3) a finding that the differences between the               and including a processor and a memory;
claimed invention and the prior art were
encompassed in known variations or in a principle                at least one depiction of a sequence of letters, each letter being
known in the prior art;                                          associable with a switch; and

    (4) a finding that one of ordinary skill in the art,         a reader configured to communicate the identity of the depiction
in view of the identified design incentives or other             to the processor,
market forces, could have implemented the claimed
variation of the prior art, and the claimed variation            wherein selection of a depicted letter activates an associated
would have been predictable to one of ordinary skill             switch to communicate with the processor, causing the sound
                                                                 production device to generate a signal corresponding to a sound
in the art; and                                                  associated with the selected letter, the sound being determined
    (5) whatever additional findings based on the                by a position of the letter in the sequence of letter.
Graham factual inquiries may be necessary, in view
of the facts of the case under consideration, to                 The court concluded that the claimed invention would have been
                                                                 obvious in view of the combination of two pieces of prior art,
explain a conclusion of obviousness.                             (1) Bevan (which showed an electro-mechanical toy for phonetic
                                                                 learning), (2) the Super Speak & Read device (SSR) (an
The rationale to support a conclusion that the
                                                                 electronic reading toy), and the knowledge of one of ordinary
claimed invention would have been obvious is that                skill in the art.
design incentives or other market forces could have
prompted one of ordinary skill in the art to vary the            The court made clear that there was no technological advance
prior art in a predictable manner to result in the               beyond the skill shown in the SSR device. The court stated that
claimed invention. If any of these findings cannot               “one of ordinary skill in the art of children’s learning toys would
                                                                 have found it obvious to combine the Bevan device with the
be made, then this rationale cannot be used to
                                                                 SSR to update it using modern electronic components in order
support a conclusion that the claim would have been              to gain the commonly understood benefits of such adaptation,
obvious to one of ordinary skill in the art.                     such as decreased size, increased reliability, simplified operation,
                                                                 and reduced cost. While the SSR only permits generation of a
Example 1:                                                       sound corresponding to the first letter of a word, it does so using
                                                                 electronic means. The combination is thus the adaptation of an
The fact pattern in Dann v. Johnston, 425 U.S. 219, 189 USPQ     old idea or invention (Bevan) using newer technology that is
257 (1976) is set forth above in Example 1 in subsection D.      commonly available and understood in the art (the SSR).”

The Court found that the problem addressed by applicant – the    The court found that the claimed invention was but a variation
need to give more detailed breakdown by a category of            on already known children’s toys. This variation presented no



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                                                                      Example 4:
nonobvious advance over other toys. The court made clear that
there was no technological advance beyond the skill shown in          The claimed invention in Ex parte Catan, 83 USPQ2d 1568
the SSR device. The court found that “[a]ccomodating a prior          (Bd. Pat. App. & Int. 2007), was a consumer electronics device
art mechanical device that accomplishes that goal to modern           using bioauthentication to authorize sub-users of an authorized
electronics would have been reasonably obvious to one of              credit account to place orders over a communication network
ordinary skill in designing children’s learning devices. Applying     up to a pre-set maximum sub-credit limit.
modern electronics to older mechanical devices has been
commonplace in recent years.”
                                                                      The prior art (Nakano) disclosed a consumer electronics device
Example 3:                                                            like the claimed invention, except that security was provided
                                                                      by a password authentication device rather than a
The claimed invention in KSR Int'l Co. v. Teleflex Inc., 550          bioauthentication device. The prior art (Harada) disclosed that
U.S. 398, 82 USPQ2d 1385 (2007), was an adjustable pedal              the use of a bioauthentication device (fingerprint sensor) on a
assembly with a fixed pivot point and an electronic                   consumer electronics device (remote control) to provide
pedal-position sensor attached to the assembly support. The           bioauthentication information (fingerprint) was known in the
fixed pivot point meant that the pivot was not changed as the         prior art at the time of the invention. The prior art (Dethloff)
pedal was adjusted. The placement of the sensor on the assembly       also disclosed that it was known in the art at the time of the
support kept the sensor fixed while the pedal was adjusted.           invention to substitute bioauthentication for PIN authentication
                                                                      to enable a user to access credit via a consumer electronics
Conventional gas pedals operated by a mechanical link which           device.
adjusted the throttle based on the travel of the pedal from a set
position. The throttle controlled the combustion process and the      The Board found that the prior art “shows that one of ordinary
available power generated by the engine. Newer cars used              skill in the consumer electronic device art at the time of the
computer controlled throttles in which a sensor detected the          invention would have been familiar with using bioauthentication
motion of the pedal and sent signals to the engine to adjust the      information interchangeably with or in lieu of PINs to
throttle accordingly. At the time of the invention, the               authenticate users.” The Board concluded that one of ordinary
marketplace provided a strong incentive to convert mechanical         skill in the art of consumer electronic devices would have found
pedals to electronic pedals, and the prior art taught a number of     it obvious to update the prior art password device with the
methods for doing so. The prior art (Asano) taught an adjustable      modern bioauthentication component and thereby gain,
pedal with a fixed pivot point with mechanical throttle control.      predictably, the commonly understood benefits of such
The prior art (‘936 patent to Byler) taught an electronic pedal       adaptation, that is, a secure and reliable authentication procedure.
sensor which was placed on a pivot point in the pedal assembly
and that it was preferable to detect the pedal’s position in the       G. Some Teaching, Suggestion, or Motivation in the
pedal mechanism rather than in the engine. The prior art (Smith)
                                                                      Prior Art That Would Have Led One of Ordinary Skill
taught that to prevent the wires connecting the sensor to the
computer from chafing and wearing out, the sensor should be           To Modify the Prior Art Reference or To Combine Prior
put on a fixed part of the pedal assembly rather than in or on        Art Reference Teachings To Arrive at the Claimed
the pedal’s footpad. The prior art (Rixon) taught an adjustable       Invention
pedal assembly (sensor in the footpad) with an electronic sensor
for throttle control. There was no prior art electronic throttle      To reject a claim based on this rationale, Office
control that was combined with a pedal assembly which kept
the pivot point fixed when adjusting the pedal.                       personnel must resolve the Graham factual
                                                                      inquiries. Then, Office personnel must articulate the
The Court stated that “[t]he proper question to have asked was        following:
whether a pedal designer of ordinary skill, facing the wide range
of needs created by developments in the field of endeavor, would          (1) a finding that there was some teaching,
have seen a benefit to upgrading Asano with a sensor.” Id. at         suggestion, or motivation, either in the references
424, 82 USPQ2d at 1399. The Court found that technological
developments in the automotive design would have prompted
                                                                      themselves or in the knowledge generally available
a designer to upgrade Asano with an electronic sensor. The next       to one of ordinary skill in the art, to modify the
question was where to attach the sensor. Based on the prior art,      reference or to combine reference teachings;
a designer would have known to place the sensor on a
nonmoving part of the pedal structure and the most obvious               (2) a finding that there was reasonable
nonmoving point on the structure from which a sensor can easily       expectation of success; and
detect the pedal’s position was a pivot point. The Court
concluded that it would have been obvious to upgrade Asano’s
                                                                          (3) whatever additional findings based on the
fixed pivot point adjustable pedal by replacing the mechanical        Graham factual inquiries may be necessary, in view
assembly for throttle control with an electronic throttle control     of the facts of the case under consideration, to
and to mount the electronic sensor on the pedal support structure.    explain a conclusion of obviousness.




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The rationale to support a conclusion that the claim      I. PRIOR ART SUGGESTION OF THE CLAIMED
would have been obvious is that "a person of              INVENTION NOT NECESSARILY NEGATED BY
ordinary skill in the art would have been motivated       DESIRABLE ALTERNATIVES
to combine the prior art to achieve the claimed
invention and whether there would have been a             The disclosure of desirable alternatives does not
reasonable expectation of success in doing so."           necessarily negate a suggestion for modifying the
DyStar Textilfarben GmbH & Co. Deutschland KG             prior art to arrive at the claimed invention. In In re
v. C.H. Patrick Co., 464 F.3d 1356, 1360, 80              Fulton, 391 F.3d 1195, 73 USPQ2d 1141 (Fed. Cir.
USPQ2d 1641, 1645 (Fed. Cir. 2006). If any of these       2004), the claims of a utility patent application were
findings cannot be made, then this rationale cannot       directed to a shoe sole with increased traction having
be used to support a conclusion that the claim would      hexagonal projections in a “facing orientation.” 391
have been obvious to one of ordinary skill in the art.    F.3d at 1196-97, 73 USPQ2d at 1142. The Board
                                                          combined a design patent having hexagonal
The courts have made clear that the teaching,             projections in a facing orientation with a utility
suggestion, or motivation test is flexible and an         patent having other limitations of the independent
explicit suggestion to combine the prior art is not       claim. 391 F.3d at 1199, 73 USPQ2d at 1144.
necessary. The motivation to combine may be               Applicant argued that the combination was improper
implicit and may be found in the knowledge of one         because (1) the prior art did not suggest having the
of ordinary skill in the art, or, in some cases, from     hexagonal projections in a facing (as opposed to a
the nature of the problem to be solved. Id. at 1366,      “pointing”) orientation was the “most desirable”
80 USPQ2d at 1649. “[A]n implicit motivation to           configuration for the projections, and (2) the prior
combine exists not only when a suggestion may be          art “taught away” by showing desirability of the
gleaned from the prior art as a whole, but when the       “pointing orientation.” 391 F.3d at 1200-01, 73
‘improvement’ is technology-independent and the           USPQ2d at 1145-46. The court stated that “the prior
combination of references results in a product or         art’s mere disclosure of more than one alternative
process that is more desirable, for example because       does not constitute a teaching away from any of these
it is stronger, cheaper, cleaner, faster, lighter,        alternatives because such disclosure does not
smaller, more durable, or more efficient. Because         criticize, discredit, or otherwise discourage the
the desire to enhance commercial opportunities by         solution claimed….” Id. In affirming the Board’s
improving a product or process is universal-and even      obviousness rejection, the court held that the prior
common-sensical-we have held that there exists in         art as a whole suggested the desirability of the
these situations a motivation to combine prior art        combination of shoe sole limitations claimed, thus
references even absent any hint of suggestion in the      providing a motivation to combine, which need not
references themselves. In such situations, the proper     be supported by a finding that the prior art suggested
question is whether the ordinary artisan possesses        that the combination claimed by the applicant was
knowledge and skills rendering him capable of             the preferred, or most desirable combination over
combining the prior art references.” Id. at 1368, 80      the other alternatives. Id. See also In re Urbanski,
USPQ2d at 1651.                                           809 F.3d 1237, 1244, 117 USPQ2d 1499, 1504 (Fed.
                                                          Cir. 2016).
2143.01 Suggestion or Motivation To Modify
                                                          In Ruiz v. A.B. Chance Co., 357 F.3d 1270,
the References [R-08.2017]
                                                          69 USPQ2d 1686 (Fed. Cir. 2004), the patent
                                                          claimed underpinning a slumping building
Obviousness can be established by combining or
                                                          foundation using a screw anchor attached to the
modifying the teachings of the prior art to produce
                                                          foundation by a metal bracket. One prior art
the claimed invention where there is some teaching,
                                                          reference taught a screw anchor with a concrete
suggestion, or motivation to do so. In re Kahn, 441
                                                          bracket, and a second prior art reference disclosed
F.3d 977, 986, 78 USPQ2d 1329, 1335 (Fed. Cir.
                                                          a pier anchor with a metal bracket. The court found
2006) (discussing rationale underlying the
                                                          motivation to combine the references to arrive at the
motivation-suggestion-teaching test as a guard
                                                          claimed invention in the “nature of the problem to
against using hindsight in an obviousness analysis).


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                                MANUAL             306-3 PROCEDURE
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be solved” because each reference was directed “to        obvious unless the results would have been
precisely the same problem of underpinning                predictable to one of ordinary skill in the art. KSR
slumping foundations.” Id. at 1276, 69 USPQ2d at          Int'l Co. v. Teleflex Inc., 550 U.S. 538, 417, 82
1690. The court also rejected the notion that “an         USPQ2d 1385, 1396 (2007) (“If a person of ordinary
express written motivation to combine must appear         skill can implement a predictable variation, § 103
in prior art references….” Id. at 1276, 69 USPQ2d         likely bars its patentability. For the same reason, if
at 1690.                                                  a technique has been used to improve one device,
                                                          and a person of ordinary skill in the art would
II. WHERE THE TEACHINGS OF THE PRIOR                      recognize that it would improve similar devices in
ART CONFLICT, THE EXAMINER MUST WEIGH                     the same way, using the technique is obvious unless
THE SUGGESTIVE POWER OF EACH                              its actual application is beyond his or her skill.”).
REFERENCE
                                                          IV. MERE STATEMENT THAT THE CLAIMED
The test for obviousness is what the combined             INVENTION IS WITHIN THE CAPABILITIES OF
teachings of the references would have suggested to       ONE OF ORDINARY SKILL IN THE ART IS NOT
one of ordinary skill in the art, and all teachings in    SUFFICIENT BY ITSELF TO ESTABLISH PRIMA
the prior art must be considered to the extent that       FACIE OBVIOUSNESS
they are in analogous arts. Where the teachings of
two or more prior art references conflict, the            A statement that modifications of the prior art to
examiner must weigh the power of each reference           meet the claimed invention would have been “‘well
to suggest solutions to one of ordinary skill in the      within the ordinary skill of the art at the time the
art, considering the degree to which one reference        claimed invention was made’” because the references
might accurately discredit another. In re Young, 927      relied upon teach that all aspects of the claimed
F.2d 588, 18 USPQ2d 1089 (Fed. Cir. 1991) (Prior          invention were individually known in the art is not
art patent to Carlisle disclosed controlling and          sufficient to establish a prima facie case of
minimizing bubble oscillation for chemical                obviousness without some objective reason to
explosives used in marine seismic exploration by          combine the teachings of the references. Ex parte
spacing seismic sources close enough to allow the         Levengood, 28 USPQ2d 1300 (Bd. Pat. App. & Inter.
bubbles to intersect before reaching their maximum        1993). ‘‘‘[R]ejections on obviousness cannot be
radius so the secondary pressure pulse was reduced.       sustained by mere conclusory statements; instead,
An article published several years later by Knudsen       there must be some articulated reasoning with some
opined that the Carlisle technique does not yield         rational underpinning to support the legal conclusion
appreciable improvement in bubble oscillation             of obviousness.’” KSR, 550 U.S. at 418, 82 USPQ2d
suppression. However, the article did not test the        at 1396 (quoting In re Kahn, 441 F.3d 977, 988, 78
Carlisle technique under comparable conditions            USPQ2d 1329, 1336 (Fed. Cir. 2006)).
because Knudsen did not use Carlisle’s spacing or
seismic source. Furthermore, where the Knudsen            V. THE PROPOSED MODIFICATION CANNOT
model most closely approximated the patent                RENDER THE PRIOR ART UNSATISFACTORY
technique there was a 30% reduction of the                FOR ITS INTENDED PURPOSE
secondary pressure pulse. On these facts, the court
found that the Knudsen article would not have             If a proposed modification would render the prior
deterred one of ordinary skill in the art from using      art invention being modified unsatisfactory for its
the Carlisle patent teachings.).                          intended purpose, then there is no suggestion or
                                                          motivation to make the proposed modification. In
III. FACT THAT REFERENCES CAN BE                          re Gordon, 733 F.2d 900, 221 USPQ 1125 (Fed. Cir.
COMBINED OR MODIFIED MAY NOT BE                           1984) (Claimed device was a blood filter assembly
SUFFICIENT TO ESTABLISH PRIMA FACIE                       for use during medical procedures wherein both the
OBVIOUSNESS                                               inlet and outlet for the blood were located at the
                                                          bottom end of the filter assembly, and wherein a gas
The mere fact that references can be combined or          vent was present at the top of the filter assembly.
modified does not render the resultant combination        The prior art reference taught a liquid strainer for


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                                  PATENTABILITY




removing dirt and water from gasoline and other            catheter including that means. The court agreed that
light oils wherein the inlet and outlet were at the top    the first reference, which stressed simplicity of
of the device, and wherein a pet-cock (stopcock)           structure and taught emulsification of the debris, did
was located at the bottom of the device for                not teach away from the addition of a channel for
periodically removing the collected dirt and water.        the recovery of the debris.). Similarly, in Allied
The reference further taught that the separation is        Erecting v. Genesis Attachments, 825 F.3d 1373,
assisted by gravity. The Board concluded the claims        1381, 119 USPQ2d 1132, 1138 (Fed. Cir. 2016), the
were prima facie obvious, reasoning that it would          court stated “[a]lthough modification of the movable
have been obvious to turn the reference device             blades may impede the quick change functionality
upside down. The court reversed, finding that if the       disclosed by Caterpillar, ‘[a] given course of action
prior art device were turned upside down it would          often has simultaneous advantages and
be inoperable for its intended purpose because the         disadvantages, and this does not necessarily obviate
gasoline to be filtered would be trapped at the top,       motivation to combine’” (quoting Medichem, S.A.
the water and heavier oils sought to be separated          v. Rolabo, S.L., 437 F.3d 1157, 1165, 77 USPQ2d
would flow out of the outlet instead of the purified       1865, 1870 (Fed Cir. 2006) (citation omitted)).
gasoline, and the screen would become clogged.).
But see In re Urbanski, 809 F.3d 1237, 1244, 117           VI. THE PROPOSED MODIFICATION CANNOT
USPQ2d 1499, 1504 (Fed. Cir. 2016) (The patent             CHANGE THE PRINCIPLE OF OPERATION OF
claims were directed to a method of enzymatic              A REFERENCE
hydrolysis of soy fiber to reduce water holding
capacity, requiring reacting the soy fiber and enzyme      If the proposed modification or combination of the
in water for about 60-120 minutes. The claims were         prior art would change the principle of operation of
rejected over two prior art references, wherein the        the prior art invention being modified, then the
primary reference taught using a longer reaction time      teachings of the references are not sufficient to
of 5 to 72 hours and the secondary taught using a          render the claims prima facie obvious. In re Ratti,
reaction time of 100 to 240 minutes, preferably 120        270 F.2d 810, 813, 123 USPQ 349, 352 (CCPA
minutes. The applicant argued that modifying the           1959) (Claims were directed to an oil seal
primary reference in the manner suggested by the           comprising a bore engaging portion with outwardly
secondary reference would forego the benefits taught       biased resilient spring fingers inserted in a resilient
by the primary reference, thereby teaching away            sealing member. The primary reference relied upon
from the combination. The court held that both prior       in a rejection based on a combination of references
art references “suggest[ed] that hydrolysis time may       disclosed an oil seal wherein the bore engaging
be adjusted to achieve different fiber properties.         portion was reinforced by a cylindrical sheet metal
Nothing in the prior art teaches that the proposed         casing. The seal construction taught in the primary
modification would have resulted in an ‘inoperable’        reference required rigidity for operation, whereas
process or a dietary fiber product with undesirable        the seal in the claimed invention required resiliency.
properties.” (emphasis in original).                       The court reversed the rejection holding the
                                                           “suggested combination of references would require
“Although statements limiting the function or              a substantial reconstruction and redesign of the
capability of a prior art device require fair              elements shown in [the primary reference] as well
consideration, simplicity of the prior art is rarely a     as a change in the basic principle under which the
characteristic that weighs against obviousness of a        [primary reference] construction was designed to
more complicated device with added function.” In           operate.”).
re Dance, 160 F.3d 1339, 1344, 48 USPQ2d 1635,
1638 (Fed. Cir. 1998) (Court held that claimed             2143.02 Reasonable Expectation of Success
catheter for removing obstruction in blood vessels         Is Required [R-08.2012]
would have been obvious in view of a first reference
which taught all of the claimed elements except for         [Editor Note: This MPEP section is applicable to
a “means for recovering fluid and debris” in               applications subject to the first inventor to file
combination with a second reference describing a           (FITF) provisions of the AIA except that the relevant


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